       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 1 of 45




      In the United States Court of Federal Claims
                                    No. 16-1624L; No. 17-1931L
                                        Filed: June 29, 2018

  * * * * * * * * * * * * * * *              *
  REINALDO CASTILLO, et al.,                 *
                                             *
                      Plaintiffs,            *          Motion for Partial Summary
               v.                            *          Judgment; Takings Claim;
                                             *          Trails Act, 16 U.S.C. § 1241 et
  UNITED STATES,                             *          seq.; Florida Law; Center Line
                                             *          Presumption.
                      Defendant.             *
                                             *
  * * * * * * * * * * * * * * *              *
  NELSON MENENDEZ, et al.,                   *
                                             *
                      Plaintiffs,            *
               v.                            *
                                             *
  UNITED STATES,                             *
                                             *
                      Defendant.             *
                                             *
  * * * * * * * * * * * * * * *              *


      Lindsay S.C. Brinton, Arent Fox, LLP, Clayton, MO, for plaintiffs. Of counsel was
Mark F. Hearne, II, Arent Fox, LLP, Washington, D.C.

      Davené D. Walker, Trial Attorney, Environment & Natural Resources Section,
Department of Justice, Washington, D.C., for defendant. With her was Jeffrey H. Wood,
Acting Assistant Attorney General, Environment & Natural Resources Division,
Department of Justice, Washington, D.C. Of counsel was Theodore Hunt, Associate
General Counsel, Surface Transportation Board, Washington, D.C.
        Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 2 of 45



                                        OPINION

Horn, J.

        The nineteen plaintiffs in Reinaldo Castillo, et al., v. United States, Case No. 16-
1624 (Castillo),1 and the three plaintiffs in Nelson Menendez, et al., v. United States, Case
No. 17-1931 (Menendez),2 the two above-captioned and consolidated cases before this
court, are landowners along the same railroad line in Florida. Each own a parcel of land
in a subdivision that is “[a]djacent” to the South Little River Branch Railroad Line (railroad
corridor), as stipulated to in both cases by the parties in two separate tables submitted to
the court with entries for each of the Castillo and Menendez plaintiffs regarding: “Claim
Number;” “Plaintiffs;” “Parcel Number;” “Owned Parcel on NITU Date;” “Adjacent to
ROW;” “Applicable RR Conveyance;” and “Nature of RR Ownership.” The two separate
tables were included in the parties’ Joint Stipulations Regarding Title submitted to the
court in Castillo on August 22, 2017, and in Menendez on February 23, 2018, and appear
later in the opinion. Both sets of plaintiffs also allege that as “[a]djacent” landowners to
the railroad corridor, they own the land that runs to the center line of the railroad corridor.
They also each allege that when the United States government, the defendant, authorized
the South Little River Branch Railroad Line to be used for a public recreational trail,
pursuant to the National Trails System Act, 16 U.S.C. § 1241 et seq. (2012) (the Trails
Act), the government destroyed their reversionary rights to exclusive use and possession
of the land underlying the railroad corridor, effectively taking their property without just
compensation. According to the Castillo and Menendez plaintiffs, they are, therefore,
entitled to receive just compensation under the Fifth Amendment to the United States
Constitution for the government’s taking of their private property.
1The plaintiffs in Castillo are as follows: Gonzalo Padron Marino, Mayda Rotella and Julia
Garcia, parcel number 01-4002-002-0220; Shops on Flager Inc., parcel number 01-4002-
002-1780; Jose F. and Dora A. Dumenigo, parcel number 01-4002-002-1730; Humberto
J. and Josefa Marcia Diaz, parcel number 01-4002-002-1720; Luis Crespo, parcel
number 01-4002-002-1650; Jose Luis and Grace Barsello Napole, parcel number 01-
4002-002-1640; Bernardo D. and Norma A. Manduley, parcel number 01-4002-002-1630;
Danilo A. and Dora Rodriguez, parcel number 01-4002-002-1610; Avimael and Odalys
Arevalo, parcel number 01-4002-002-1600; Dalia Espinosa, Daniel Espinosa and Sofira
Gonzalez, parcel number 01-4002-002-1580; Lourdez Rodriguez, parcel number 01-
4002-001-1370; Alberto Perez, parcel number 01-4002-001-1380; Mayra Lopez, parcel
number 01-4002-001-1390; Niraldo Hernandez Padron and Mercedes Alina Falero,
parcel number 01-4002-001-1400; Luisa Palencia and Xiomara Rodriguez, parcel
number 01-4002-001-1410; Reinaldo F. Castillo, parcel number 01-4002-001-1430; Hugo
E. and Concepcion V. Diaz as Co-Trustees of the Diaz Family Revocable Trust, parcel
number 01-4002-001-1440; South American Tile, LLC, parcel number 01-4002-001-
1450; and Gladys Hernandez, parcel number 01-4002-001-1460.
2 The plaintiffs in Menendez are as follows: Jose Martin Martinez and Norma del Socorro
Gomez, parcel number 01-4002-002-1710; Nelson Menendez and Osvaldo Borras, Jr.,
parcel number 01-4002-002-1690; and Luis R. Schmidt, parcel number 01-4002-002
-1660.

                                              2
        Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 3 of 45



                                              FACTS

        The Florida East Coast Railway operates the section of the railroad corridor at
issue, which spans 100 feet in width and runs approximately 1.21 miles on the South Little
River Branch Railroad Line between milepost LR 11+3989 and milepost LR 13+0000 in
Miami-Dade County, Florida. The land upon which the railroad corridor at issue was built
was obtained by the Florida East Coast Railway through multiple conveyances in the
1920s. In particular, the section of the railroad corridor at issue is comprised of four
unequally sized and separate rights-of-way and a strip of land resulting from a written
deed, that when combined, span 100 feet wide and comprise part of the 1.21 mile long
railroad corridor. In 1932, the Florida East Coast Railway constructed a railroad line on
this 1.21 mile strip of land.

        According to the map depicting an aerial view of the railroad corridor attached to
plaintiffs’ cross-motions for partial summary judgment in Castillo and Menendez, to which
defendant does not take issue, the section of the railroad corridor at issue is actually
comprised of four separate rights-of-way obtained by condemnation and one property
interest obtained by the Holman deed, which are not all adjacent to the parcels belonging
to the plaintiffs in Castillo and Menendez. According to the aerial map submitted by the
plaintiffs, three of the four rights-of-way, the Russo, Johnson, and J. Pyles and J. Owens
rights-of-way, discussed below, when combined, form the eastern edge of the railroad
corridor that runs adjacent to the twenty-two parcels belonging to the Castillo and
Menendez plaintiffs. The Stanley right-of-way, and the Holman property interest obtained
by a deed, when combined, form the western side of the railroad corridor, and, therefore
are separated from the Castillo and Menendez plaintiffs’ parcels by one of the other three
rights-of-way at issue, as depicted on plaintiffs’ aerial map attached to their cross-motions
for partial summary judgment in Castillo and Menendez.

       The Holman Conveyance

        The Florida East Coast Railway obtained its first relevant property interest by
conveyance on July 20, 1923 by deed from G.F. and Mary J. Holman. The Holman deed,
titled “Warranty Deed,” states that on July 20, 1923,

       GF Holman and Mary J Holman, his wife . . . parties of the first part, and
       FLORIDA EAST COAST RAILWAY COMPANY, . . . party of the second
       part, WITNESSETH, that the said parties of the first part, for and in
       consideration of the sum of ($3,000.00) *******THREE THOUSAND*********
       Dollars, . . . . granted, bargained, and sold to the said party of the second
       part, its successors and assigns forever, the following described land, to wit:
       A piece or parcel of land situated in the South-west Quarter (SW ¼) of the
       South-east Quarter (SE ¼) of Section Two (2) of Township Fifty-four (54)
       South, in Range Forty (40) East, in Dade County, Florida, bounded and
       described as follows:
                                             ...



                                             3
        Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 4 of 45



              1320 feet more or less, to lands now or formerly of W. W. Goucher,
              thence Westerly along Goucher’s lands 76 feet, thence South 1320
              feet more or less to the South line of said Section Two (2) at a point
              100 feet West of the point of beginning, thence Easterly 100 feet to
              the point or place of beginning. Containing 2.72 acres more or less.

(capitalization in original). As depicted by plaintiffs’ aerial map attached to their cross-
motion in Castillo, to which, as noted above, defendant does not take issue, the section
of the railroad corridor obtained through the Holman deed runs north to south and runs
parallel to the parcels of land for the following nine Castillo plaintiffs: (1) Lourdez
Rodriguez, (2) Alberto Perez, (3) Mayra Lopez, (4) Niraldo Hernandez Padron and
Mercedes Alina Falero, (5) Luisa Palencia and Xiomara Rodriguez, (6) Reinaldo F.
Castillo, (7) Hugo E. and Concepcion V. Diaz as Co-Trustees of the Diaz Family
Revocable Trust, (8) South American Tile, LLC, and (9) Gladys Hernandez. The land
obtained for the railroad, which resulted from the Holman conveyance, however, as
depicted on the Castillo plaintiffs’ aerial map, is not adjacent to these nine parcels of land.
Instead, according to plaintiffs’ aerial map of the railroad corridor, wedged in between the
railroad’s land, which resulted from the Holman deed, and the parcels of land belonging
to the nine Castillo plaintiffs is the Russo right-of-way. As previously noted, plaintiffs’
aerial map depicts the location of each of the four rights-of-way obtained by condemnation
and the railroad’s land conveyed by the Holman conveyance, as well as the location of
each of the plaintiffs’ distinct parcels of land.

       The Four Separate and Distinct Rights-of-Way by Condemnation

        The Florida East Coast Railway obtained its first right-of-way in a condemnation
proceeding in the United States Circuit Court for Dade County, Florida (Dade County
Circuit Court) against “Paul Russo and Southern Bank & Trust Company” that resulted in
a final judgment in favor of the Florida East Coast Railway on October 28, 1924. The final
judgment issued by the Dade County Circuit Court on October 28, 1924 in the
condemnation proceeding stated that the land obtained by the Florida East Coast Railway
from Paul Russo and the Southern Bank & Trust Company was to be used “as a right of
way for the construction, location, and maintenance of the extension of its line of railroad
from Okeechobee, Florida to Miami, Florida” and measures a total of .41 acres, is 25.33
feet wide along its northern border and 1.2 feet along its southern border (the Russo right-
of-way). The Russo right-of-way runs north to south. To the east of the Russo right-of-
way are the respective parcels of land owned by the following nine Castillo plaintiffs, which
are adjacent to the Russo right-of-way, as depicted on plaintiffs’ aerial map of the railroad
corridor attached to their cross-motion for partial summary judgment in Castillo:

             Lourdez Rodriguez
             Alberto Perez
             Mayra Lopez
             Niraldo Hernandez Padron and Mercedes Alina Falero
             Luisa Palencia and Xiomara Rodriguez
             Reinaldo F. Castillo

                                              4
        Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 5 of 45



              Hugo E. and Concepcion V. Diaz as Co-Trustees of the Diaz Family
               Revocable Trust
              South American Tile, LLC
              Gladys Hernandez

According to the parties’ Joint Stipulations Regarding Title filed in Menendez, the Russo
right-of-way is not mentioned as relevant to any of the parcels owned by the Menendez
plaintiffs.

        Also on October 28, 1924, the Florida East Coast Railway obtained its second
right-of-way in a separate condemnation proceeding in the Dade County Circuit Court
against R.S. Stanley. The final judgment entered by the Dade County Circuit Court on
October 28, 1924 stated that the land obtained by the Florida East Coast Railway from
R.S. Stanley (the Stanley right-of-way) was to be used “as a right of way for the
construction, location, and maintenance of the extension of its line of railroad from
Okeechobee, Florida to Miami, Florida.” The Stanley right-of-way runs north to south,
measures 1.9 acres total, is 1320 feet long, 50.54 feet wide at its norther border and 74.67
feet wide at its southern border. The Stanley right-of-way is not adjacent to any of the
parcels belonging to the Castillo or Menendez plaintiffs, as depicted on plaintiffs’ aerial
map attached to their cross-motion for partial summary judgment in Castillo. In particular,
as depicted on plaintiffs’ aerial map, the southern portion of the Stanley right-of-way is
separated from the parcels belonging to six Castillo plaintiffs and one Menendez plaintiff
by the Johnson right-of-way. The six Castillo plaintiffs are (1) Luis Crespo, (2) Jose Luis
and Grace Barsello Napole, (3) Bernardo D. and Norma A. Manduley, (4) Danilo A. and
Dora Rodriguez, (5) Avimael and Odalys Arevalo, and (6) Dalia Espinosa, Daniel
Espinosa, and Sofira Gonzalez. The Menendez plaintiff is Luis Schmidt. Further, as
depicted on plaintiffs’ aerial map, the northern portion of the Stanley right-of-way is
separated from the parcels of land belonging to two Castillo plaintiffs, (1) Jose F. and
Dora A. Dumenigo and (2) Humberto J. and Josefa Marcia Diaz, and two Menendez
plaintiffs, (1) Jose Martin Martinez and Norma del Socorro Gomez and (2) Nelson
Menendez and Osvaldo Borras, Jr., by the southern portion of the J. Pyles and J. Owens
right-of-way.

       The Florida East Coast Railway obtained its third right-of-way on November 21,
1924 in a condemnation proceeding in the Dade County Circuit Court against William H.
Johnson, Seminole Fruit & Land Company, Clark G. Smith, Ethel C. Rewis, and Donald
Rewis. The final judgment entered by the Dade County Circuit Court on November 21,
1924 in the condemnation proceeding stated that the land obtained by the Florida East
Coast Railway (the Johnson right-of-way) was to be used “as a right of way for the
construction, location, and maintenance of the extension of its line of railroad from
Okeechobee, Florida to Miami, Florida.” The Johnson right-of-way runs north to south,
measures approximately .48 acres total, is 37.39 feet wide at its norther border and 25.33
feet wide at its southern border, and is adjacent to the properties for the following plaintiffs,
as depicted on plaintiffs’ aerial map of the railroad corridor attached to their cross-motions
for partial summary judgment in Castillo and Menendez:



                                               5
          Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 6 of 45



      Castillo plaintiffs,

          Luis Crespo
          Jose Luis and Grace Barsello Napole
          Bernardo D. and Norma A. Manduley
          Danilo A. and Dora Rodriguez
          Avimael and Odalys Arevalo
          Dalia Espinosa, Daniel Espinosa, and Sofira Gonzalez

      Menendez plaintiff,

          Luis Schmidt

       The Florida East Coast Railway obtained its fourth right-of-way also on November
21, 1924 in a separate condemnation proceeding in the Dade County Circuit Court
against the Seminole Fruit & Land Company. The final judgment entered by the Dade
County Circuit Court on November 21, 1924 in the condemnation proceeding stated that
the land obtained by the Florida East Coast Railway was to be used “as a right of way for
the construction, location, and maintenance of the extension of its line of railroad from
Okeechobee, Florida to Miami, Florida.” The parties refer to this final judgment as the “J.
Pyles, J. Owens Judgment” in their Joint Stipulations Regarding Title filed in each of the
two consolidated cases currently before the court.

        The J. Pyles and J. Owens right-of-way is divided into two portions, a southern
portion and a northern portion. According to the aerial map submitted by the Castillo
plaintiffs, the southern portion of the J. Pyles and J. Owens right-of-way shares the
railroad corridor with the Stanley right-of-way. As depicted on plaintiffs’ aerial map
submitted in Castillo and Menendez, the Stanley right-of-way covers the western portion
of the railroad corridor, and the J. Pyles and J. Owens right-of-way covers the eastern
portion of the railroad corridor and is adjacent to the following plaintiffs’ parcels:

      Castillo plaintiffs,

              Humberto J. and Josefa Marcia Diaz
              Jose F. and Dora A. Dumenigo

      Menendez plaintiffs,

              Jose Martin Martinez and Norma del Socorro Gomez
              Nelson Menendez and Osvaldo Borras, Jr.

According to the Castillo plaintiffs’ aerial map of the railroad corridor attached to their
cross-motion for partial summary judgment, the northern portion of the J. Pyles and J.
Owens right-of-way appears to span the full width of the railroad corridor, and is adjacent
to the parcels for the following two Castillo plaintiffs:


                                            6
        Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 7 of 45



             Shops on Flagler Inc.
             Gonzalo Padron Marino, Julia Garcia and Mayda Rotella

Notably, as depicted on the plaintiffs’ aerial map submitted in Castillo, this is the only
portion of the railroad corridor at issue in which only one right-of-way covers the full width
of the railroad corridor, which is 100 feet.

       The Zena Gardens and Princess Park Manor Subdivisions Plats

       On September 30, 1947, Louis and Rebecca Merwitzer, husband and wife, platted
a parcel of their land and called it the “Zena Gardens” subdivision. According to the
subdivision plat for Zena Gardens, attached to the government’s cross-motion for
summary judgment in Castillo and to which the plaintiffs do not take issue, the western
border of Zena Gardens is adjacent to the railroad corridor, which is labeled as 100 feet
wide and as the “Florida East Coast Railway.” According to the respective deeds
submitted by the plaintiffs as attachments to their most recent complaints filed in Castillo
and Menendez, the respective parcels of land owned by the following plaintiffs are located
in the Zena Gardens subdivision:

   Castillo plaintiffs,

      Lourdez Rodriguez
      Alberto Perez
      Mayra Lopez
      Niraldo Hernandez Padron and Mercedes Alina Falero
      Luisa Palencia and Xiomara Rodriguez
      Reinaldo F. Castillo
      Hugo E. and Concepcion V. Diaz as Co-Trustees of the Diaz Family Revocable
       Trust
      South American Tile, LLC
      Gladys Hernandez

According to the Menendez plaintiffs’ deeds, none of the Menendez plaintiffs own
property in the Zena Gardens subdivision.

       The Zena Gardens subdivision plat states, in relevant part:

       Louis Merwitzer and Rebecca Merwitzer his wife owners of the S.E. ¼ of
       the S.E. ¼ of Section 2, Township 54 South, Range 40 East, Miami Dade
       County, Florida, excepting therefrom a strip of land off the westerly side
       which is the right of way of the Okeechobee-Miami Extension of the Florida
       East Coast Railway, have caused to be made the attached plat entitled
       future planting, trees and shrubbery there on are hereby dedicated to the
       perpetual use of the Public for proper purposes reserving to the said Louis
       Merwitzer and Rebecca Merwitzer, his wife, their heirs, successors or
       assigns, the reversion or reversions thereof whenever discontinued by law.

                                              7
          Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 8 of 45




       On November 3, 1949, Erving and Harriett Moss, husband and wife, platted a
parcel of their land and called it the “Princess Park Manor” subdivision. According to the
subdivision plat for the Princess Park Manor, which was attached to the government’s
cross-motion for summary judgment in Castillo and Menendez and to which the plaintiffs
do not take issue, the western border of Princess Park Manor is adjacent to the railroad
corridor, measures 100 feet wide and labeled “East R/W Line of F.E.C. Ry.” Princess Park
Manor is directly north of Zena Gardens, separated only by a street. According to the
respective deeds submitted by the Castillo and Menendez plaintiffs as attachments to
their most recent complaints filed before the court, the respective parcels of land owned
by the following remaining plaintiffs in Castillo and Menendez are located in the Princess
Park Manor subdivision:

      Castillo plaintiffs,

          Luis Crespo
          Jose Luis and Grace Barsello Napole
          Bernardo D. and Norma A. Manduley
          Danilo A. and Dora Rodriguez
          Avimael and Odalys Arevalo
          Dalia Espinosa, Daniel Espinosa, and Sofira Gonzalez
          Humberto J. and Josefa Marcia Diaz
          Jose F. and Dora A. Dumenigo
          Shops on Flagler Inc.
          Gonzalo Padron Marino, Julia Garcia and Mayda Rotella

      Menendez plaintiffs,

          Luis Schmidt
          Jose Martin Martinez and Norma del Socorro Gomez
          Nelson Menendez and Osvaldo Borras, Jr.

     The Princess Park Manor plat states, in relevant part:

     That ERVING A.MOSS and HARRIETT E.MOSS his wife, owners of the
     South ½ of the N.E. 1/4s South of the Canal and East of the Florida East
     Coast Right-of-Way, located in Sec. 2 TWP.54 South, RGE. 40 East, Dade
     County, Florida; being the land East of the Florida East coast Right-of-Way
     and between Flagler Street and the Tamiami Canal and extending East to
     Ludlum Road, ALSO The West ½ of the Northeast ¼ of the Southeast ¼ less
     the Florida East Coast Right-of-Way all in Sec. 2 Township 54 South RGE.40
     East, Dade County, Florida, said Florida East Coast Right-of-Way being the
     right-of-way of the Okeechobee Miami Extension of the Florida East Coast
     Railway, have caused to made the attached Plat entitled “PRINCESS PARK
     MANOR”


                                            8
        Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 9 of 45



     The Streets, Avenues, Roads, Terraces, Courts and Alleys as shown
     together with all existing and future planning, trees and shrubbery thereon
     are hereby dedicated to the perpetual use of the public for proper purposes,
     reserving to the said ERVING A.MOSS and HARRIETT E.MOSS, his wife,
     their heirs; successors or assigns, the reversion or reversions thereof
     whenever discontinued by law.

(capitalization and emphasis in original).

      The Castillo and Menendez Plaintiffs Obtain Title in Discrete Parcels of
      Land in the Zena Gardens and Princess Park Manor Subdivisions.

       Between March 1977 and July 2016, the Castillo and Menendez plaintiffs acquired
title in their respective parcels of land in the Princess Park Manor and Zena Gardens
subdivisions. Each of the plaintiffs’ deeds in Castillo and Menendez conveying them title
to their respective parcel states that the respective grantor granted, bargained, and sold
to plaintiff-grantee the respective parcel of land, located in either Princess Park Manor or
Zena Gardens. None of the deeds for any of the plaintiffs in Castillo and Menendez
provide the measurements of the respective parcel. Instead, the deeds for all plaintiffs in
Castillo and Menendez state the particular subdivision in which the parcel is located, the
parcel’s “[l]ot” number in the subdivision and references the particular subdivision plat in
which the parcel is located. For example, the warranty deed for Menendez plaintiff Jose
Martin Martinez and Norma Del Socorro Gomez states that on May 31, 2005:3

       [G]rantor [Margaret Ann Arguelles], for and in consideration of the sum of
       TEN AND NO/100 DOLLARS ($10.00) and other good and valuable
       considerations to said grantor in hand paid by said grantee [Jose Martin
       Martinez and Norma Del Socorro Gomez], the receipt whereof is hereby
       acknowledged, has granted, bargained, and sold to the said grantee, and
       grantee’s heirs and assigns forever, the following described land, situate,
       lying and being in Miami-Dade County, Florida to-wit:

       Lot 15, Block 11, of PRINCESS PARK MANOR, according to the Plat
       thereof, recorded in Plat Book 50, at Page 18, in the Public Records of
       Miami-Dade County, Florida.
       Parcel Identification Number: 0140020021710

(capitalization and emphasis in original). Each of the parcels of land belonging to the
Castillo and Menendez plaintiffs is depicted on either the Zena Gardens plat or Princess
Park Manor plat, which displays the measurement of the particular parcel of land. All of
the parcels belonging to the plaintiffs in Castillo and Menendez are depicted on the
subdivision plats as being directly to the east of the railroad corridor. Notably, none of the


3 The numbering and grouping of the Castillo and Menendez plaintiffs in this opinion
reflects the grouping and numbering of plaintiffs indicated in the respective complaints
and in the parties’ filings in Castillo and Menendez.

                                              9
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 10 of 45



parcels as depicted on either the Zena Gardens plat or Princess Park Manor plat extend
onto the railroad corridor.

       In 2004, service over the railroad corridor ceased when the Florida East Coast
Railway temporarily closed off a portion of the railway to perform emergency repair work
on a bridge at milepost 12.23+. The temporary closure blocked access to the railroad
corridor. When the section of the railroad opened again, shippers did not resume rail
service and, according to the combined environmental and historical report attached to
the Florida East Coast Railway’s abandonment petition before the United States Surface
Transportation Board (STB), both of which were included as exhibits to plaintiffs’ cross-
motions for partial summary judgment in Castillo and Menendez, there were “no new
sources of potential local traffic.”

       The Florida East Coast Railway Begins the Abandonment Process of the
       Railroad Corridor.

      On January 21, 2016, the Florida East Coast Railway began the process to
“abandon” the railroad corridor at issue by filing a verified notice of exemption with the
STB.4 The Florida East Coast Railway’s January 21, 2016 Verified Notice of Exemption
4 When a railroad carrier wants to abandon or cease service over its railway line, the
railroad carrier must obtain authorization from the STB by filing an application to abandon
or discontinue service, pursuant to 49 U.S.C. § 10903(a)(1) (2012), which states:

       A rail carrier providing transportation subject to the jurisdiction of the
       [Surface Transportation] Board under this part who intends to – (A) abandon
       any part of its railroad lines; or (B) discontinue the operation of all rail
       transportation over any part of its railroad lines, must file an application
       relating thereto with the Board. An abandonment or discontinuance may be
       carried out only as authorized under this chapter.

The railroad line company may file a verified notice of exemption of abandonment in order
to be exempt from the various abandonment requirements under 49 U.S.C. § 10903
(2012), such as sending a “notice of the [abandonment] application to the chief executive
officer of each State that would be directly affected by the proposed abandonment or
discontinuance.” 49 U.S.C. § 10903(a)(3); see 49 C.F.R. § 1152.50(a)(1) (2018) (“A
proposed abandonment or discontinuance of service or trackage rights over a railroad
line is exempt from the provisions of 49 U.S.C. 10903 if the criteria in this section are
satisfied.”). In order to qualify for the exemption, the carrier

       certifies that no local traffic has moved over the line for at least 2 years and
       any overhead traffic on the line can be rerouted over other lines and that no
       formal complaint filed by a user of rail service on the line (or a state or local
       government entity acting on behalf of such user) regarding cessation of
       service over the line either is pending with the Board or any U.S. District
       Court or has been decided in favor of the complainant within the 2–year
       period. The complaint must allege (if pending), or prove (if decided) that the

                                              10
        Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 11 of 45



stated that the Florida East Coast Railway “plans to abandon the Line, salvage the track
and materials and convert the property to trail use.” On February 10, 2016, the STB
published the notice exemption in the Federal Register and the exemption became
effective on March 11, 2016. On October 31, 2016, the Florida East Coast Industries, LLC
sent a letter to the STB requesting a “notice of interim trail use/rail banking” over the
railroad corridor and submitting its willingness to assume financial responsibility pursuant
to 49 C.F.R § 1152.29 (2016). On November 1, 2016, the Florida East Coast Railway
sent a letter to the STB stating it “agree[d] to negotiate interim trail use/rail banking for the
Line with FECI [Florida East Coast Industries].” On November 21, 2016, the STB invoked
section 8(d) of the Trails Act, and issued its “DECISION AND NOTICE OF INTERIM
TRAIL USE OR ABANDONMENT” (NITU), authorizing the Florida East Coast Railway to
negotiate a trail use agreement with the Florida East Coast Industries. (capitalization in
original). On July 18, 2017, the Florida East Coast Railway notified the STB that it had
entered a purchase sale agreement with the Florida East Coast Industries for the “rail
banking/interim trail use” of the rail line at issue.

                                     PROCEDURAL HISTORY

        On December 7, 2016, Reinaldo Castillo filed the original complaint in Reinaldo
Castillo v. United States, Case No. 16-1624 before this court. On March 31, 2017, Mr.
Castillo amended the complaint to join an additional twenty-two plaintiffs and then, on
September 29, 2017, amended once more to dismiss certain plaintiffs, resulting in the
current nineteen plaintiffs in Castillo. They are: (1) Reinaldo Castillo, (2) Avimael and
Odalys Arevalo, (3) Luis Crespo, (4) Hugo E. and Concepcion V. Diaz as Co-Trustees of
The Diaz Family Revocable Trust, (5) Humberto and Josefa Marcia Diaz, (6) Jose F. and
Dora A. Dumenigo, (7) Dalia Espinosa, Daniel Espinosa and Sofia Gonzalez, (8) Gladys
Hernandez, (9) Niraldo Hernandez Padron and Mercedes Alina Falero, (10) Mayra Lopez,
(11) Bernardo D. and Norma A. Manduley, (12) Jose Luis and Grace Barsallo Napole,
(13) Gonzalo Padron Marino, Julia Garcia, and Mayda Rotella, (14) Luisa Palencia and
Xiomara Rodriguez, (15) Alberto Perez, (16) Danilo A. and Dora Rodriguez, (17) Lourdez
Rodriguez, (18) Shops on Flager, Inc., and (19) South American Title, LLC.

        Subsequently, on December 12, 2017, the Menendez plaintiffs filed their complaint
in Nelson Menendez, et al., v. United States, Case No. 17-1931, originally before Judge
Thomas Wheeler of this court, which included the following plaintiffs: (1) Nelson
Menendez and Osvaldo Borras, Jr., and (2) Luis R. Schmidt. Case No. 17-1931 was then
transferred to the undersigned on December 28, 2017. The Menendez complaint raises
the same issues of law and fact as alleged by the Castillo plaintiffs, and the Menendez
plaintiffs allege they own land underlying the same section of the railroad corridor at issue
in Castillo. The plaintiffs and defendant in both Castillo and Menendez also are

       carrier has imposed an illegal embargo or other unlawful impediment to
       service.

49 C.F.R. § 1152.50(b).



                                               11
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 12 of 45



represented by the same legal counsel, who filed a joint notice before this court also
stating that the “same issues of law and facts apply to both cases.” The court, therefore,
ordered the two cases consolidated on January 12, 2018. On January 19, 2018, the
Menendez plaintiffs filed an amended complaint, adding one more plaintiff, resulting in
the following three, current plaintiffs in Menendez: (1) Nelson Menendez and Osvaldo
Borras, Jr., (2) Jose Martin Martinez and Norma Del Socorro Gomez, and (3) Luis R.
Schmidt.

       In their most recently filed complaints, the Castillo and Menendez plaintiffs all
allege they are “Florida landowners who are owed compensation for their property rights
taken by the federal government as a result of its authorization that the right-of-way be
converted to a public recreational trail.” Both complaints state that each of the plaintiffs
owned their property on November 21, 2016, when the STB issued the NITU, and that
each of the plaintiffs’ “property abuts[5] and underlies the former Railroad right-of-way,
which is now subject to an easement for an interim public-access trail and possible future
railroad reactivation.” The Castillo and Menendez plaintiffs claim that the government
“took these Florida owners’ land for a public recreational trail by an order of the federal
Surface Transportation Board invoking a provision of the federal Trails Act.” They also
claim that “when the federal government authorizes a public recreational trail across an
owner’s land, the fifth amendment requires the government to compensate the owner.”
The Castillo and Menendez plaintiffs allege they have not received compensation for the
government’s alleged takings. Both sets of plaintiffs seek “full fair-market value of the
property taken by the government on the date it was taken,” including “severance
damage,” “delay” damages, litigation costs and attorneys’ fees, and such further relief the
court deems just and proper.

        The parties filed Joint Stipulations Regarding Title in both cases and have
stipulated to certain threshold issues. The parties in Castillo and Menendez agree that all
plaintiffs in both cases owned their corresponding parcels on November 21, 2016, when
the STB issued the NITU, and that plaintiffs’ corresponding parcels are “[a]djacent” to the
railroad corridor. The parties in both Castillo and Menendez also stipulate that the rights-
of-way the Florida East Coast Railway obtained through the four final judgments in the
condemnation proceedings were each an “[e]asement.”6


5 Plaintiffs state in their complaints in Castillo and Menendez that their respective
properties “abut” the railroad corridor. It appears, however, that both sets of plaintiffs, use
the term “abut” interchangeably with “adjacent” in their filings in Castillo and Menendez.
In the parties’ Joint Stipulations Regarding Title filed in both Castillo and Menendez, the
parties state that the respective properties for both sets of plaintiffs are “[a]djacent” to the
railroad corridor. Likewise, the government states in its cross-motion for partial summary
judgment in Castillo and its cross-motion for summary judgment in Menendez that all of
the plaintiffs’ properties are “adjacent” to the railroad corridor.
6 The parties do not state in the Joint Stipulations Regarding Title their respective
positions on the nature of the interest obtained by the Florida East Coast Railway through
the Holman deed. According to the parties’ Joint Stipulations Regarding Title in Castillo,

                                              12
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 13 of 45




        As indicated above, the parties attached to their Joint Stipulations Regarding Title
in both Castillo and Menendez a table, which displays each plaintiff’s name, claim
number, parcel number of the plaintiff’s particular parcel located in either the Zena
Gardens or Princess Park Manor subdivision. Each table also displays the “Applicable
RR [railroad] Conveyance,” for each of the plaintiffs’ parcels, which refers to the particular
conveyance, namely, one of the four condemnation proceedings or the Holman deed, in
which the Florida East Coast Railway obtained a piece of the railroad corridor at issue in
Castillo and Menendez. Each table also displays the “Nature of RR [railroad] Ownership,”
which refers to the particular interest the Florida East Coast Railway obtained in each of
the conveyances at issue in Castillo and Menendez. Each table also indicates that each
plaintiff in Castillo and Menendez owned his or her particular parcel of land on the NITU
date and states that each of the Castillo and Menendez plaintiffs’ parcels are “Adjacent
to ROW [right-of-way].” Each of the tables attached to the Joint Stipulations Regarding
Title submitted to the court in Castillo and Menendez, respectively, on August 22, 2017
and February 23, 2018, are displayed below.




the interest in the portion of the railroad corridor obtained by the Florida East Coast
Railway through the 1923 Holman deed is described as “[d]isputed.”

                                             13
              Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 14 of 45



                           Castillo, et al., v. United States, Case No. 16-16247



 Claim       Plaintiffs       Parcel       Owned Adjacent to     Applicable RR               Nature of RR
Number                        Number      Parcel on  ROW     [Railroad] Conveyance            [Railroad]
                                          NITU Date [right-                                   Ownership
                                                    of-way]




  12       Gonzalo         01-4002-002-     Yes          Yes     J. Pyles, J. Owens
           Padron          0220                                  Judgment (Bk 24, Pg           Easement
           Marino                                                208)
           and Julia
           Garcia;
           and
           Mayda
           Rotella
  17       Shops on        01-4002-002-     Yes          Yes     J. Pyles, J. Owens
           Flagler, Inc.   1780                                  Judgment (Bk 24, Pg           Easement
                                                                 208)
  21       Jose F. and     01-4002-002-     Yes          Yes     J. Pyles, J. Owens
           Dora A.         1730                                  Judgment (Bk 24, Pg           Easement
           Dumenigo                                              208);
                                                                 R. Stanley Judgment
                                                                 (Bk 24, Pg 91)




       7 On August 24, 2017, the court dismissed from the case the following three Castillo
       plaintiffs, (1) Daisy H.F. LLC, (2) Lion Miami Terrace, LLC, and (3) Jorge and Beatrice
       Ugan. The parties did not include these three dismissed plaintiffs in the table. The Castillo
       table above, however, still displays “Lioni Investments, LLC,” as three separate plaintiffs
       in Castillo on the table. On September 6, 2017, the Castillo plaintiffs moved to voluntarily
       dismiss the three Lioni Investments plaintiffs subsequent to the filing of the parties’ Joint
       Stipulations Regarding Title. The court dismissed the Lioni Investments plaintiffs on
       September 8, 2017. The Castillo plaintiffs did not submit an updated Joint Stipulations
       Regarding Title to the court following the dismissal of the Lioni Investments plaintiffs.
       Therefore, although, the table above displays twenty-two plaintiffs in Castillo, currently
       there are only nineteen plaintiffs in Castillo, as previously indicated.


                                                    14
        Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 15 of 45



22   Humberto J. 01-4002-002-       Yes        Yes   J. Pyles, J. Owens
     and Josefa  1720                                Judgment (Bk 24, Pg   Easement
     Marcia Diaz                                     208);
                                                     R. Stanley Judgment
                                                      (Bk 24, Pg 91)
29   Luis Crespo     01-4002-002-   Yes        Yes   W. Johnson Judgment
                     1650                            (Bk 24, Pg 207);      Easement
                                                     R. Stanley Judgment
                                                     (Bk 24, Pg 91)
30   Jose Luis and 01-4002-002-     Yes        Yes   W. Johnson Judgment
     Grace         1640                              (Bk 24, Pg 207);      Easement
     Barsello                                        R. Stanley Judgment
     Napole                                          (Bk 24, Pg 91)
31   Bernardo D.     01-4002-002-   Yes        Yes   W. Johnson Judgment
     and Norma       1630                            (Bk 24, Pg 207);      Easement
     A.                                              R. Stanley Judgment
     Manduley                                        (Bk 24, Pg 91)
33   Danilo A. and   01-4002-002-   Yes        Yes   W. Johnson Judgment
     Dora            1610                            (Bk 24, Pg 207);      Easement
     Rodriguez                                       R. Stanley Judgment
                                                     (Bk 24, Pg 91)
34   Avimael and 01-4002-002-       Yes        Yes   W. Johnson Judgment
     Odalys      1600                                (Bk 24, Pg 207);      Easement
     Arevalo                                         R. Stanley Judgment
                                                     (Bk 24, Pg 91)
36   Dalia           01-4002-002-   Yes        Yes   W. Johnson Judgment
     Espinosa,       1580                            (Bk 24, Pg 207);      Easement
     Daniel                                          R. Stanley Judgment
     Espinosa                                        (Bk 24, Pg 91)
     and Sofira
     Gonzalez
39   Lioni           01-4002-033-   Yes        Yes   G. Holman Deed (Bk    Disputed
     Investments,    0012                            362, Pg 186)
     LLC
40   Lioni           01-4002-019-   Yes        Yes   G. Holman Deed (Bk    Disputed
     Investments,    0040                            362, Pg 186)
     LLC
41   Lioni        01-4002-019-      Yes        Yes   G. Holman Deed (Bk    Disputed
     Investments, 0070                               362, Pg 186)
     LLC




                                          15
        Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 16 of 45



43   Lourdez        01-4002-001-   Yes        Yes   P. Russo Judgment (Bk Condemnation
     Rodriguez      1370                            24, Pg 83);            - Easement;
                                                    G. Holman Deed (Bk    Deed Disputed
                                                    362, Pg 186)
44   Alberto Perez 01-4002-001-    Yes        Yes   P. Russo Judgment (Bk Condemnation -
                   1380                             24, Pg 83);           Easement;
                                                    G. Holman Deed (Bk Deed Disputed
                                                    362, Pg 186)
45   Mayra Lopez 01-4002-001-      Yes        Yes   P. Russo Judgment (Bk Condemnation -
                 1390                               24, Pg 83);           Easement;
                                                    G. Holman Deed (Bk    Deed Disputed
                                                    362, Pg 186)
46   Niraldo        01-4002-001-   Yes        Yes   P. Russo Judgment (Bk Condemnation -
     Hernandez      1400                            24, Pg 83);           Easement;
     Padron and                                     G. Holman Deed (Bk    Deed Disputed
     Mercedes                                       362, Pg 186)
     Alina Falero
47   Luisa        01-4002-001-     Yes        Yes   P. Russo Judgment (Bk Condemnation -
     Palencia and 1410                              24, Pg 83);           Easement;
     Xiomara                                        G. Holman Deed (Bk    Deed Disputed
     Rodriguez                                      362, Pg 186)
49   Reinaldo F.    01-4002-001-   Yes        Yes   P. Russo Judgment (Bk Condemnation -
     Castillo       1430                            24, Pg 83);           Easement;
                                                    G. Holman Deed (Bk    Deed Disputed
                                                    362, Pg 186)
50   Hugo E. and 01-4002-001-      Yes        Yes   P. Russo Judgment (Bk Condemnation -
     Concepcion 1440                                24, Pg 83);           Easement;
     V. Diaz as                                     G. Holman Deed (Bk    Deed Disputed
     Co-Trustees                                    362, Pg 186)
     of the Diaz
     Family
     Revocable
     Trust
51   South          01-4002-001-   Yes        Yes   P. Russo Judgment (Bk Easement;
     American       1450                            24, Pg 83);           Deed Disputed
     Tile, LLC                                      G. Holman Deed (Bk
                                                    362, Pg 186)

52   Gladys         01-4002-001-   Yes        Yes   P. Russo Judgment (Bk Condemnation -
     Hernandez      1460                            24, Pg 83);           Easement;
                                                    G. Holman Deed (Bk    Deed Disputed
                                                    362, Pg 186)



                                         16
           Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 17 of 45




                        Menendez, et al., v. United States, Case No. 17-1931


 Claim     Plaintiffs        Parcel     Owned Adjacent to     Applicable RR         Nature of
Number                      Number     Parcel on  ROW     [Railroad] Conveyance        RR
                                       NITU Date [right-                           [Railroad]
                                                   of-                             Ownership
                                                  way]




  1      Jose Martin 01-4002-002-         Yes        Yes     J. Pyles, J. Owens
         Martinez    1710                                    Judgment (Bk 24, Pg   Easement
         and Norma                                           208);
         del Socorro                                         R. Stanley Judgment
         Gomez                                               (Bk 24, Pg 91)

  2      Nelson         01-4002-002-      Yes        Yes     J. Pyles, J. Owens
         Menendez       1690                                 Judgment (Bk 24, Pg   Easement
         and                                                 208);
         Osvaldo                                             R. Stanley Judgment
         Borras, Jr.                                         (Bk 24, Pg 91)
  3      Luis R.        01-4002-002-      Yes        Yes     W. Johnson Judgment
         Schmidt        1660                                 (Bk 24, Pg 207);      Easement
                                                             R. Stanley Judgment
                                                             (Bk 24, Pg 91)




                                                17
        Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 18 of 45



        The parties each have filed motions for partial summary judgment in both of the
consolidated cases. In Castillo, plaintiffs seek partial summary judgment as to the
government’s liability for taking their property without just compensation for the portions
of the railroad corridor granted to the Florida East Coast Railway in the four condemnation
proceedings in the Dade County Circuit Court. Plaintiffs do not move for summary
judgment as to the portion of the railroad corridor that the Florida East Coast Railway
obtained through the Holman deed. The government, in turn, seeks partial summary
judgment that it is not liable for any takings of the railroad corridor obtained in the Holman
deed because the Holman deed granted fee simple title to the Florida East Coast Railway
as to that portion of the railroad corridor. According to the government, because the
Florida East Coast Railway obtained fee simple title through the Holman deed, the Castillo
plaintiffs have no interest in this portion of the railroad corridor, and, thus, the court should
grant summary judgment in its favor that there was not a taking as to this portion of the
railroad corridor. The government, however, has not cross-moved for partial summary
judgment as to the portions of the railroad corridor the Florida East Coast Railway
obtained through condemnation through the four separate condemnation orders in 1924.

        In Menendez, plaintiffs seek partial summary judgment as to the government’s
takings liability for their property without just compensation regarding the portions of the
railroad corridor granted to the Florida East Coast Railway in three of the four
condemnation proceedings in the Dade County Circuit Court, the Johnson, Stanley, and
J. Pyles and J. Owens proceedings. The Russo proceeding, the fourth condemnation
proceeding, is not applicable to the Menendez plaintiffs because none of the plaintiffs’
properties are located near, let alone adjacent to, the portion of the railroad corridor
obtained through the Russo right-of-way, as evidenced by plaintiffs’ aerial map attached
to their cross-motion for partial summary judgment in Menendez, to which defendant does
not take issue. Similarly, as evidenced by plaintiffs’ aerial map, none of the properties
belonging to the Menendez plaintiffs are situated near the land the Florida East Coast
Railway obtained through the Holman deed, and, thus, the Holman deed is not applicable
to the Menendez plaintiffs. The government, in turn, seeks partial summary judgment in
Menendez that it is not liable for any alleged takings of the railroad corridor at issue
because plaintiffs cannot prove that they own the land underlying the rights-of-way at
issue.

                                        DISCUSSION

        The court considers the parties’ cross-motions for partial summary judgment in
Castillo and Menendez. Rule 56 of the United States Court of Federal Claims Rules
(RCFC) is similar to Rule 56 of the Federal Rules of Civil Procedure in language and
effect. Both rules provide that “[t]he court shall grant summary judgment if the movant
shows that there is no genuine dispute as to any material fact and the movant is entitled
to judgment as a matter of law.” RCFC 56(a) (2017); Fed. R. Civ. P. 56(a) (2018); see
also Alabama v. North Carolina, 560 U.S. 330, 344 (2010); Hunt v. Cromartie, 526 U.S.
541, 549 (1999); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986); Adickes
v. S. H. Kress & Co., 398 U.S. 144, 157 (1970); Biery v. United States, 753 F.3d 1279,
1286 (Fed. Cir.), reh’g and reh’g en banc denied (Fed. Cir. 2014); Ladd v. United States,


                                               18
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 19 of 45



713 F.3d 648, 651 (Fed. Cir. 2013); Minkin v. Gibbons, P.C., 680 F.3d 1341, 1349 (Fed.
Cir. 2012); Noah Sys., Inc. v. Intuit Inc., 675 F.3d 1302, 1309-10 (Fed. Cir. 2012);
Advanced Fiber Techs. (AFT) Trust v. J & L Fiber Servs., Inc., 674 F.3d 1365, 1372 (Fed.
Cir.), reh’g and reh’g en banc denied (Fed. Cir. 2012); Fujitsu Ltd. v. Netgear Inc., 620
F.3d 1321, 1325 (Fed. Cir.), reh’g denied (Fed. Cir. 2010); Consol. Coal Co. v. United
States, 615 F.3d 1378, 1380 (Fed. Cir.), reh’g and reh’g en banc denied (Fed. Cir. 2010),
cert. denied, 564 U.S. 1004 (2011); 1st Home Liquidating Trust v. United States, 581 F.3d
1350, 1355 (Fed. Cir. 2009); Arko Exec. Servs., Inc. v. United States, 553 F.3d 1375,
1378 (Fed. Cir. 2009); Casitas Mun. Water Dist. v. United States, 543 F.3d 1276, 1283
(Fed. Cir. 2008), reh’g and reh’g en banc denied, 556 F.3d 1329 (Fed. Cir. 2009); Moden
v. United States, 404 F.3d 1335, 1342 (Fed. Cir.), reh’g and reh’g en banc denied (Fed.
Cir. 2005); Am. Pelagic Fishing Co., L.P. v. United States, 379 F.3d 1363, 1370-71 (Fed.
Cir.), reh’g en banc denied (Fed. Cir. 2004), cert. denied, 545 U.S. 1139 (2005); Mata v.
United States, 114 Fed. Cl. 736, 744 (2014); Leggitte v. United States, 104 Fed. Cl. 315,
317 (2012); Arranaga v. United States, 103 Fed. Cl. 465, 467-68 (2012); Cohen v. United
States, 100 Fed. Cl. 461, 469 (2011); Boensel v. United States, 99 Fed. Cl. 607, 610
(2011).

        A fact is material if it will make a difference in the result of a case under the
governing law. See Anderson v. Liberty Lobby, Inc., 477 U.S. at 248; see also Marriott
Int’l Resorts, L.P. v. United States, 586 F.3d 962, 968 (Fed. Cir. 2009) (quoting Anderson
v. Liberty Lobby, Inc., 477 U.S. at 248); Mata v. United States, 114 Fed. Cl. at 744;
Arranaga v. United States, 103 Fed. Cl. at 467-68; Thompson v. United States, 101 Fed.
Cl. 416, 426 (2011); Cohen v. United States, 100 Fed. Cl. at 469. Irrelevant or
unnecessary factual disputes do not preclude the entry of summary judgment. See
Anderson v. Liberty Lobby, Inc., 477 U.S. at 247-48; see also Scott v. Harris, 550 U.S.
372, 380 (2007); Monon Corp. v. Stoughton Trailers, Inc., 239 F.3d 1253, 1257 (Fed. Cir.
2001); Gorski v. United States, 104 Fed. Cl. 605, 609 (2012); Walker v. United States, 79
Fed. Cl. 685, 692 (2008); Curtis v. United States, 144 Ct. Cl. 194, 199, 168 F. Supp. 213,
216 (1958), cert. denied, 361 U.S. 843 (1959), reh’g denied, 361 U.S. 941 (1960).

       When reaching a summary judgment determination, the judge’s function is not to
weigh the evidence and determine the truth of the case presented, but to determine
whether there is a genuine issue for trial. See Anderson v. Liberty Lobby, Inc., 477 U.S.
at 249; see, e.g., Schlup v. Delo, 513 U.S. 298, 332 (1995); TigerSwan, Inc. v. United
States, 118 Fed. Cl. 447, 451 (2014); Dana R. Hodges Trust v. United States, 111 Fed.
Cl. 452, 455 (2013); Cohen v. United States, 100 Fed. Cl. at 469-70; Boensel v. United
States, 99 Fed. Cl. at 611; Macy Elevator, Inc. v. United States, 97 Fed. Cl. 708, 717
(2011); Dick Pacific/GHEMM, JV ex rel. W.A. Botting Co. v. United States, 87 Fed. Cl.
113, 126 (2009); Johnson v. United States, 49 Fed. Cl. 648, 651 (2001), aff’d, 52 F. App’x
507 (Fed. Cir. 2002), published at 317 F.3d 1331 (Fed. Cir. 2003). The judge must
determine whether the evidence presents a disagreement sufficient to require submission
to fact finding, or whether the issues presented are so one-sided that one party must
prevail as a matter of law. See Anderson v. Liberty Lobby, Inc., 477 U.S. at 250-52; Jay
v. Sec’y of Dep’t of Health and Human Servs., 998 F.2d 979, 982 (Fed. Cir.), reh’g denied
and en banc suggestion declined (Fed. Cir. 1993); Leggitte v. United States, 104 Fed. Cl.


                                           19
        Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 20 of 45



at 316. When the record could not lead a rational trier of fact to find for the nonmoving
party, there is no genuine issue for trial, and the motion must be granted. See, e.g.,
Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); Advanced
Fiber Techs. (AFT) Trust v. J & L Fiber Servs., Inc., 674 F.3d at 1372; Marriott Int’l
Resorts, L.P. v. United States, 586 F.3d at 968; Am. Seating Co. v. USSC Grp., Inc., 514
F.3d 1262, 1266 (Fed. Cir.), reh’g en banc denied (Fed. Cir. 2008); Rothe Dev. Corp. v.
U.S. Dep’t of Def., 262 F.3d 1306, 1316 (Fed. Cir. 2001); Hall v. Aqua Queen Mfg., Inc.,
93 F.3d 1548, 1553 n.3 (Fed. Cir. 1996). In such cases, there is no need for the parties
to undertake the time and expense of a trial, and the moving party should prevail without
further proceedings.

       In appropriate cases, summary judgment:

       saves the expense and time of a full trial when it is unnecessary. When the
       material facts are adequately developed in the motion papers, a full trial is
       useless. “Useless” in this context means that more evidence than is already
       available in connection with the motion for summary judgment could not
       reasonably be expected to change the result.

Dehne v. United States, 23 Cl. Ct. 606, 614-15 (1991) (quoting Pure Gold, Inc. v. Syntex,
(U.S.A.) Inc., 739 F.2d 624, 626 (Fed. Cir. 1984)) (citation omitted), vacated on other
grounds, 970 F.2d 890 (Fed. Cir. 1992); see also Vivid Techs., Inc. v. Am. Sci. & Eng’g,
Inc., 200 F.3d 795, 806 (Fed. Cir. 1999) (“The purpose of summary judgment is not to
deprive a litigant of a trial, but to avoid an unnecessary trial when only one outcome can
ensue.”); Metric Constr. Co., Inc. v. United States, 73 Fed. Cl. 611, 612 (2006).

         Summary judgment, however, will not be granted if “the dispute about a material
fact is ‘genuine,’ that is, if the evidence is such that a reasonable [trier of fact] could return
a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. at 248; see
also Long Island Sav. Bank, FSB v. United States, 503 F.3d 1234, 1244 (Fed. Cir.), reh’g
and reh’g en banc denied (Fed. Cir. 2007), cert. denied, 555 U.S. 812 (2008); Eli Lilly &
Co. v. Barr Labs., Inc., 251 F.3d 955, 971 (Fed. Cir.), reh’g and reh’g en banc denied
(Fed. Cir. 2001), cert. denied, 534 U.S. 1109 (2002); Gen. Elec. Co. v. Nintendo Co., 179
F.3d 1350, 1353 (Fed. Cir. 1999); TigerSwan, Inc. v. United States, 118 Fed. Cl. at 451;
Stephan v. United States, 117 Fed. Cl. 68, 70 (2014); Gonzales-McCaulley Inv. Grp., Inc.
v. United States, 101 Fed. Cl. 623, 629 (2011). In other words, if the nonmoving party
produces sufficient evidence to raise a question as to the outcome of the case, then the
motion for summary judgment should be denied. Any doubt over factual issues must be
resolved in favor of the party opposing summary judgment, to whom the benefit of all
presumptions and inferences runs. See Ricci v. DeStefano, 557 U.S. 557, 586 (2009);
Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. at 587-88; Yant v. United
States, 588 F.3d 1369, 1371 (Fed. Cir. 2009), cert. denied, 562 U.S. 827 (2010);
Dethmers Mfg. Co. v. Automatic Equip. Mfg. Co., 272 F.3d 1365, 1369 (Fed. Cir. 2001),
reh’g and reh’g en banc denied, 293 F.3d 1364 (Fed. Cir. 2002), cert. denied, 539 U.S.
957 (2003); Monon Corp. v. Stoughton Trailers, Inc., 239 F.3d at 1257; Wanlass v.
Fedders Corp., 145 F.3d 1461, 1463 (Fed. Cir.), reh’g denied and en banc suggestion


                                               20
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 21 of 45



declined (Fed. Cir. 1998); see also Am. Pelagic Co. v. United States, 379 F.3d at 1371
(citing Helifix Ltd. v. Blok-Lok, Ltd., 208 F.3d 1339, 1345-46 (Fed. Cir. 2000)); Dana R.
Hodges Trust v. United States, 111 Fed. Cl. at 455; Boensel v. United States, 99 Fed. Cl.
at 611 (“‘The evidence of the nonmovant is to be believed, and all justifiable inferences
are to be drawn in his favor.’” (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. at 255)
(citing Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. at 587-88; Casitas
Mun. Water Dist. v. United States, 543 F.3d at 1283; and Lathan Co. Inc. v. United States,
20 Cl. Ct. 122, 125 (1990))); see also Am. Seating Co. v. USSC Grp., Inc., 514 F.3d at
1266-67; Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d at 807. “However, once a
moving party satisfies its initial burden, mere allegations of a genuine issue of material
fact without supporting evidence will not prevent entry of summary judgment.” Republic
Sav. Bank, F.S.B. v. United States, 584 F.3d 1369, 1374 (Fed. Cir. 2009); see also
Anderson v. Liberty Lobby, Inc., 477 U.S. at 247-48.

        The initial burden on the party moving for summary judgment to produce evidence
showing the absence of a genuine issue of material fact may be discharged if the moving
party can demonstrate that there is an absence of evidence to support the nonmoving
party’s case. See Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986); see also Riley &
Ephriam Constr. Co. v. United States, 408 F.3d 1369, 1371 (Fed. Cir. 2005); Crown
Operations Int’l Ltd. v. Solutia Inc., 289 F.3d 1367, 1377 (Fed. Cir.), reh’g denied (Fed.
Cir. 2002); Trilogy Commc’ns, Inc. v. Times Fiber Commc’ns, Inc., 109 F.3d 739, 741
(Fed. Cir.) (quoting Conroy v. Reebok Int’l, Ltd., 14 F.3d 1570, 1575 (Fed. Cir. 1994),
reh’g denied and en banc suggestion declined (Fed. Cir. 1995)), reh’g denied and en
banc suggestion declined (Fed. Cir. 1997); Lockwood v. Am. Airlines, Inc., 107 F.3d 1565,
1569 (Fed. Cir. 1997); Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d at 807; RQ
Squared, LLC v. United States, 119 Fed. Cl. 751, 757-58 (2015), subsequent
determination, 129 Fed. Cl. 742 (2017), aff’d, 708 F. App’x 685 (Fed. Cir. 2018). If the
moving party makes such a showing, the burden shifts to the nonmoving party to
demonstrate that a genuine dispute regarding a material fact exists by presenting
evidence which establishes the existence of an element essential to its case upon which
it bears the burden of proof. See Celotex Corp. v. Catrett, 477 U.S. at 322; see also
Wavetronix LLC v. EIS Elec. Integrated Sys., 573 F.3d 1343, 1354 (Fed. Cir. 2009); Long
Island Sav. Bank, FSB v. United States, 503 F.3d at 1244; Fla. Power & Light Co. v.
United States, 375 F.3d 1119, 1124 (Fed. Cir. 2004); Schoell v. Regal Marine Indus., Inc.,
247 F.3d 1202, 1207 (Fed. Cir. 2001); Am. Airlines, Inc. v. United States, 204 F.3d 1103,
1108 (Fed. Cir. 2000); Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d at 807;
Rasmuson v. United States, 109 Fed. Cl. 267, 271 (2013). However, “a non-movant is
required to provide opposing evidence under Rule 56(e) only if the moving party has
provided evidence sufficient, if unopposed, to prevail as a matter of law.” Saab Cars USA,
Inc. v. United States, 434 F.3d 1359, 1369 (Fed. Cir. 2006).

       Even if both parties argue in favor of summary judgment and allege an absence of
genuine issues of material fact, the court is not relieved of its responsibility to determine
the appropriateness of summary disposition in a particular case, and it does not follow
that summary judgment should be granted to one side or the other. See Prineville Sawmill
Co. v. United States, 859 F.2d 905, 911 (Fed. Cir. 1988) (citing Mingus Constructors, Inc.


                                             21
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 22 of 45



v. United States, 812 F.2d 1387, 1391 (Fed. Cir. 1987)); see also Marriott Int’l Resorts,
L.P. v. United States, 586 F.3d at 968-69; Bubble Room, Inc. v. United States, 159 F.3d
553, 561 (Fed. Cir. 1998) (“The fact that both the parties have moved for summary
judgment does not mean that the court must grant summary judgment to one party or the
other.”), reh’g denied and en banc suggestion declined (Fed. Cir. 1999); Massey v. Del
Labs., Inc., 118 F.3d 1568, 1573 (Fed. Cir. 1997); B.F. Goodrich Co. v. U.S. Filter Corp.,
245 F.3d 587, 593 (6th Cir. 2001); Atl. Richfield Co. v. Farm Credit Bank of Wichita, 226
F.3d 1138, 1148 (10th Cir. 2000); Chevron USA, Inc. v. Cayetano, 224 F.3d 1030, 1037
n.5 (9th Cir. 2000), cert. denied, 532 U.S. 942 (2001); Allstate Ins. Co. v. Occidental Int’l,
Inc., 140 F.3d 1, 2 (1st Cir. 1998); LewRon Television, Inc. v. D.H. Overmyer Leasing
Co., 401 F.2d 689, 692 (4th Cir. 1968), cert. denied, 393 U.S. 1083 (1969); Rogers v.
United States, 90 Fed. Cl. 418, 427 (2009), subsequent determination, 93 Fed. Cl. 607
(2010), aff’d, 814 F.3d 1299 (2015); Consol. Coal Co. v. United States, 86 Fed. Cl. 384,
387 (2009), aff’d, 615 F.3d 1378 (Fed. Cir.), and reh’g and reh’g en banc denied (Fed.
Cir. 2010), cert. denied, 564 U.S. 1004 (2011); St. Christopher Assocs., L.P. v. United
States, 75 Fed. Cl. 1, 8 (2006), aff’d, 511 F.3d 1376 (Fed. Cir. 2008); Reading & Bates
Corp. v. United States, 40 Fed. Cl. 737, 748 (1998). The court must evaluate each party’s
motion on its own merits, taking care to draw all reasonable inferences against the party
whose motion is under consideration, or, otherwise stated, in favor of the non-moving
party. See First Commerce Corp. v. United States, 335 F.3d 1373, 1379 (Fed. Cir.), reh’g
and reh’g en banc denied (Fed. Cir. 2003); see also DeMarini Sports, Inc. v. Worth, Inc.,
239 F.3d 1314, 1322 (Fed. Cir. 2001); Gart v. Logitech, Inc., 254 F.3d 1334, 1338-39
(Fed. Cir.), reh’g and reh’g en banc denied (Fed. Cir. 2001), cert. denied, 534 U.S. 1114
(2002); Oswalt v. United States, 85 Fed. Cl. 153, 158 (2008); Telenor Satellite Servs.,
Inc. v. United States, 71 Fed. Cl. 114, 119 (2006).

      “Questions of law are particularly appropriate for summary judgment.” Oenga v.
United States, 91 Fed. Cl. 629, 634 (2010) (citing Dana Corp. v. United States, 174 F.3d
1344, 1347 (Fed. Cir. 1999) (“Summary judgment was appropriate here [in Dana Corp.]
because no material facts were disputed, many being stipulated, and the only disputed
issues were issues of law. Moreover, on each issue one party or the other is entitled to
judgment as a matter of law.”)); see also Santa Fe Pac. R.R. v. United States, 294 F.3d
1336, 1340 (Fed. Cir. 2002) (“Issues of statutory interpretation and other matters of law
may be decided on motion for summary judgment.”).

        In the above-captioned cases, all Castillo and Menendez plaintiffs allege that
defendant effected a taking under the Fifth Amendment to the United States Constitution
through the operation of the Trails Act. The Takings Clause of the Fifth Amendment to
the United States Constitution provides in pertinent part: “nor shall private property be
taken for public use without just compensation.” U.S. Const. amend. V. The purpose of
this Fifth Amendment provision is to prevent the government from “‘forcing some people
alone to bear public burdens which, in all fairness and justice, should be borne by the
public as a whole.’” Palazzolo v. Rhode Island, 533 U.S. 606, 618 (2001) (quoting
Armstrong v. United States, 364 U.S. 40, 49 (1960)), abrogated on other grounds by
Lingle v. Chevron U.S.A. Inc., 544 U.S. 528 (2005), recognized by Hageland Aviation
Servs., Inc. v. Harms, 210 P.3d 444 (Alaska 2009); see also Penn Cent. Transp. Co. v.


                                             22
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 23 of 45



City of New York, 438 U.S. 104, 123-24, reh’g denied, 439 U.S. 883 (1978); Lingle v.
Chevron U.S.A. Inc., 544 U.S. 528, 536 (2005); E. Enters. v. Apfel, 524 U.S. 498, 522
(1998); Pumpelly v. Green Bay & Miss. Canal Co., 80 U.S. (13 Wall.) 166, 179 (1871)
(citing to principles which establish that “private property may be taken for public uses
when public necessity or utility requires” and that there is a “clear principle of natural
equity that the individual whose property is thus sacrificed must be indemnified”); Rose
Acre Farm, Inc. v. United States, 559 F.3d 1260, 1266 (Fed. Cir.), reh’g en banc denied
(Fed. Cir. 2009), cert. denied, 559 U.S. 935 (2010); Janowsky v. United States, 133 F.3d
888, 892 (Fed. Cir. 1998); Res. Invs., Inc. v. United States, 85 Fed. Cl. 447, 469-70
(2009).

        “[A] claim for just compensation under the Takings Clause must be brought to the
Court of Federal Claims in the first instance, unless Congress has withdrawn the Tucker
Act grant of jurisdiction in the relevant statute.” E. Enters. v. Apfel, 524 U.S. at 520 (citing
Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1016-19 (1984)); see also Acceptance Ins.
Cos. v. United States, 503 F.3d 1328, 1336 (Fed. Cir. 2007); Morris v. United States, 392
F.3d 1372, 1375 (Fed. Cir. 2004) (“Absent an express statutory grant of jurisdiction to the
contrary, the Tucker Act provides the Court of Federal Claims exclusive jurisdiction over
takings claims for amounts greater than $10,000.”). The United States Supreme Court
has declared: “If there is a taking, the claim is ‘founded upon the Constitution’ and within
the jurisdiction of the [United States Court of Federal Claims] to hear and determine.”
Preseault v. Interstate Commerce Comm’n, 494 U.S. 1, 12 (1990) (Preseault I) (quoting
United States v. Causby, 328 U.S. 256, 267 (1946)); see also Lion Raisins, Inc. v. United
States, 416 F.3d 1356, 1368 (Fed. Cir. 2005); Narramore v. United States, 960 F.2d 1048,
1052 (Fed. Cir. 1992); Hardy v. United States, 127 Fed. Cl. 1, 7 (2016), recons. granted
in part, 129 Fed. Cl. 513 (2016); Perry v. United States, 28 Fed. Cl. 82, 84 (1993).

       To succeed under the Fifth Amendment Takings Clause, a plaintiff must show that
the government took a private property interest for public use without just compensation.
See Dimare Fresh, Inc. v. United States, 808 F.3d 1301, 1306 (Fed. Cir. 2015) (stating
that the “‘classic taking’” is one in which the government directly appropriates private
property for its own use (quoting Tahoe-Sierra Pres. Council, Inc. v. Tahoe Reg’l Planning
Agency, 535 U.S. 302, 324 (2002)), cert. denied, 136 S. Ct. 2461 (2016); Adams v. United
States, 391 F.3d 1212, 1218 (Fed. Cir. 2004), cert. denied, 546 U.S. 811 (2005); Arbelaez
v. United States, 94 Fed. Cl. 753, 762 (2010); Gahagan v. United States, 72 Fed. Cl. 157,
162 (2006). “The issue of whether a taking has occurred is a question of law based on
factual underpinnings.” Huntleigh USA Corp. v. United States, 525 F.3d 1370, 1377-78
(Fed. Cir.), cert. denied, 555 U.S. 1045 (2008). The government must be operating in its
sovereign rather than in its proprietary capacity when it initiates a taking. See St.
Christopher Assocs., L.P. v. United States, 511 F.3d 1376, 1385 (Fed. Cir. 2008).

       The United States Court of Appeals for the Federal Circuit has established a two-
part test to determine whether government actions amount to a taking of private property
under the Fifth Amendment. See Casitas Mun. Water Dist. v. United States, 708 F.3d
1340, 1348 (Fed. Cir. 2013); Klamath Irr. Dist. v. United States, 635 F.3d 505, 511 (Fed.
Cir. 2011); Am. Pelagic Fishing Co. v. United States, 379 F.3d at 1372 (citing M & J Coal


                                              23
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 24 of 45



Co. v. United States, 47 F.3d 1148, 1153-54 (Fed. Cir.), cert. denied, 516 U.S. 808
(1995)). A court first determines whether a plaintiff possesses a cognizable property
interest in the subject of the alleged takings. See Casitas Mun. Water Dist. v. United
States, 708 F.3d at 1348; Jackson v. United States, 135 Fed. Cl. 436, 444 (2017) (citation
omitted). Then, the court must determine whether the government action is a
“‘compensable taking of that property interest.’” Huntleigh USA Corp v. United States, 525
F.3d at 1377 (quoting Am. Pelagic Fishing Co., L.P. v. United States, 379 F.3d at 1372).

        To establish a taking, a plaintiff must have a legally cognizable property interest,
such as the right of possession, use, or disposal of the property. See Loretto v.
Teleprompter Manhattan CATV Corp., 458 U.S. 419, 435 (1982) (citing United States v.
Gen. Motors Corp., 323 U.S. 373 (1945)); Piszel v. United States, 833 F.3d 1366, 1374
(Fed. Cir. 2016), cert. denied, 138 S. Ct. 85 (2017); Rogers v. United States, 814 F.3d
1299, 1303 (Fed. Cir. 2015); Casitas Mun. Water Dist. v. United States, 708 F.3d at 1348;
CRV Enters., Inc. v. United States, 626 F.3d 1241, 1249 (Fed. Cir. 2010), cert. denied,
563 U.S. 989 (2011); Karuk Tribe of Cal. v. Ammon, 209 F.3d 1366, 1374-75 (Fed. Cir.),
reh’g denied and en banc suggestion denied (Fed. Cir. 2000), cert. denied, 532 U.S. 941
(2001). “‘It is axiomatic that only persons with a valid property interest at the time of the
taking are entitled to compensation.’” Am. Pelagic Fishing Co. v. United States, 379 F.3d
at 1372 (quoting Wyatt v. United States, 271 F.3d 1090, 1096 (Fed. Cir. 2001), cert.
denied, 353 U.S. 1077 (2002); and citing Cavin v. United States, 956 F.2d 1131, 1134
(Fed. Cir. 1992)). Therefore, “[i]f the claimant fails to demonstrate the existence of a
legally cognizable property interest, the courts [sic] task is at an end.” Am. Pelagic Fishing
Co. v. United States, 379 F.3d at 1372 (citing Maritrans Inc. v. United States, 342 F.3d
1344, 1352 (Fed. Cir. 2003)). The court does not address the second step “without first
identifying a cognizable property interest.” Air Pegasus of D.C., Inc. v. United States, 424
F.3d 1206, 1213 (Fed. Cir.) (citing Am. Pelagic Fishing Co. v. United States, 379 F.3d at
1381; and Conti v. United States, 291 F.3d 1334, 1340 (Fed. Cir.), reh’g en banc denied
(Fed. Cir. 2002), cert. denied, 537 U.S. 1112 (2003)), reh’g denied and reh’g en banc
denied (Fed. Cir. 2005); see also Balagna v. United States, 135 Fed. Cl. 16, 22 (2017),
recons. denied, No. 14-21L, 2017 WL 5952123 (Fed. Cl. Dec. 1, 2017). Only if there is to
be a next step, “‘after having identified a valid property interest, the court must determine
whether the governmental action at issue amounted to a compensable taking of that
property interest.’” Huntleigh USA Corp. v. United States, 525 F.3d at 1378 (quoting Am.
Pelagic Fishing Co. v. United States, 379 F.3d at 1372); see also Casitas Mun. Water
Dist. v. United States, 708 F.3d at 1348.

         The STB has authority to regulate most railroad lines in the United States. See 49
U.S.C. § 702 (2012). A railroad seeking to abandon any part of its railroad line must either
(1) file an application to abandon or (2) file a notice of exemption to abandon the line. See
49 U.S.C. § 10903 (2012); see also 49 C.F.R. § 1152.50 (2018). “If the STB approves a
standard abandonment application or grants an exemption and the railroad ceases
operation, the STB relinquishes jurisdiction over the abandoned railroad right-of-way and
state law reversionary property interests, if any, take effect.” Caldwell v. United States,
391 F.3d 1226, 1228-29 (Fed. Cir. 2004) (citing Preseault I, 494 U.S. at 6-8), reh’g en
banc denied (Fed. Cir.), cert. denied, 546 U.S. 826 (2005).


                                             24
        Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 25 of 45




        “The Trails Act is designed to preserve railroad rights-of-way by converting them
into recreational trails.” Bywaters v. United States, 670 F.3d 1221, 1225 (Fed. Cir.), reh’g
denied, 684 F.3d 1295 (Fed. Cir. 2012). By operation of the Trails Act, the STB may issue
a NITU, “suspending exemption proceedings for 180 days to allow a third party to enter
into an agreement with the railroad to use the right-of-way as a recreational trail.” Barclay
v. United States, 443 F.3d 1368, 1371 (Fed. Cir.), reh’g en banc denied (Fed. Cir. 2006),
cert. denied, 549 U.S. 1209 (2007). Section 8(d) of the Trails Act, codified at 16 U.S.C. §
1247(d) (2012), “allows a railroad to negotiate with a state, municipal, or private group
(‘the trail operator’) to assume financial responsibility for operating the railroad right of
way as a recreational trail.” See Bright v. United States, 603 F.3d 1273, 1275 (Fed. Cir.)
(citing Caldwell v. United States, 391 F.3d at 1229), reh’g and reh’g en banc denied (Fed.
Cir. 2010). If the railroad and an authorized trail provider8 reach an agreement, the NITU
extends indefinitely, and the corridor is railbanked, with interim trail use permitted. See
49 C.F.R. § 1152.29(d)(1)-(2) (2018) (“The NITU will indicate that interim trail use is
subject to future restoration of rail service . . . . Additionally, the NITU will provide that if
the sponsor intends to terminate interim trail use on all or any portion of the right-of-way
covered by the interim trail use agreement, it must send the [STB] a copy of the NITU and
request that it be vacated on a specific date.”); see also Biery v. United States, 753 F.3d
at 1285 (“If the railroad and the [Surface Transportation] Board reach agreement, the land
underlying the railway may be transferred to a trail operator (e.g., state, political
subdivision, or qualified private organization) for interim trail use.” (citing Citizens Against
Rails–to–Trails v. Surface Transp. Bd., 267 F.3d 1144, 1149 (D.C. Cir. 2001))); Caldwell
v. United States, 57 Fed. Cl. 193, 194 (2003) (“The term railbanking refers to the
‘preservation of railroad corridor for future rail use,’ while making the corridor available for
other activities.” (quoting Neb. Trails Council v. Surface Transp. Bd., 120 F.3d 901, 903
n.1 (8th Cir. 1997))), aff’d, 391 F.3d 1226 (Fed. Cir. 2004), reh’g en banc denied (Fed.
Cir.), cert. denied, 546 U.S. 826 (2005).

        When the NITU extends indefinitely and the corridor is railbanked, the STB retains
jurisdiction and abandonment of the railroad corridor is blocked. See 16 U.S.C. § 1247(d)
(“[I]n the case of interim use of any established railroad rights-of-way pursuant to
donation, transfer, lease, sale, or otherwise in a manner consistent with this chapter, if
such interim use is subject to restoration or reconstruction for railroad purposes, such
interim use shall not be treated, for purposes of any law or rule of law, as an abandonment
of the use of such rights-of-way for railroad purposes.”); see also Rasmuson v. United
States, 807 F.3d 1343, 1344 (Fed. Cir. 2015) (“NITUs ‘preserve established railroad
rights-of-way for future reactivation of rail service’ and permit the railroad operator to
cease operation without legally abandoning any ‘rights-of-way for railroad purposes.’”
(quoting 16 U.S.C. § 1247(d))).


8 The Trails Act indicates that a trail provider may be “a State, political subdivision, or
qualified private organization [that] is prepared to assume full responsibility for
management of such rights-of-way and for any legal liability arising out of such transfer
or use, and for the payment of any and all taxes that may be levied or assessed against
such rights-of-way.” 16 U.S.C. § 1247(d).

                                               25
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 26 of 45



       As described by the United States Court of Appeals for the Federal Circuit:

       Thus, section 8(d) of the Trails Act prevents the operation of state laws that
       would otherwise come into effect upon abandonment-property laws that
       would “result in extinguishment of easements for railroad purposes and
       reversion of rights of way to abutting landowners.” Rail Abandonments-Use
       of Rights-of-Way as Trails, Ex Parte No. 274 (Sub-No. 13), 2 I.C.C. 2d 591,
       1986 WL 68617 (1986). A Fifth Amendment taking occurs if the original
       easement granted to the railroad under state property law is not broad
       enough to encompass a recreational trail. See Preseault II, 100 F.3d at
       1552; see also Toews [v. United States], 376 F.3d at 1376.

Caldwell v. United States, 391 F.3d at 1229; see also Rogers v. United States, 814 F.3d
at 1303 (“As we have previously explained in other rails-to-trails cases, a taking, if any,
occurs when, pursuant to the Trails Act, the STB issues a Notice of Interim Trail Use
(‘NITU’) to suspend the abandonment of the rail line by a railroad and preserve it for future
active railroad use.” (citing Barclay v. United States, 443 F.3d at 1373)); BHL Props., LLC
v. United States, 135 Fed. Cl. 222, 227-28 (2017) (citing Caldwell v. United States, 391
F.3d at 1233).

         The Federal Circuit has established a three-part inquiry to determine takings
liability in cases involving the conversion of railroad rights of way for recreational trail use
by means of 16 U.S.C. § 1247(d) of the Trails Act, as follows:

       (1) who owned the strips of land involved, specifically did the Railroad . . .
           acquire only easements, or did it obtain fee simple estates; (2) if the
           Railroad acquired only easements, were the terms of the easements
           limited to use for railroad purposes, or did they include future use as
           public recreational trails; and (3) even if the grants of the Railroad's
           easements were broad enough to encompass recreational trails, had
           these easements terminated prior to the alleged taking so that the
           property owners at that time held fee simples unencumbered by the
           easements.

Preseault v. United States, 100 F.3d 1525, 1533 (Fed. Cir. 1996) (Preseault II). Phrased
differently, the Federal Circuit has also indicated:

       the determinative issues for takings liability are (1) who owns the strip of
       land involved, specifically, whether the railroad acquired only an easement
       or obtained a fee simple estate; (2) if the railroad acquired only an
       easement, were the terms of the easement limited to use for railroad
       purposes, or did they include future use as a public recreational trail (scope
       of the easement); and (3) even if the grant of the railroad’s easement was
       broad enough to encompass a recreational trail, had this easement
       terminated prior to the alleged taking so that the property owner at the time



                                              26
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 27 of 45



      held a fee simple unencumbered by the easement (abandonment of the
      easement).

Ellamae Phillips Co. v. United States, 564 F.3d 1367, 1373 (Fed. Cir. 2009) (citing
Preseault II, 100 F.3d at 1533); see also Chi. Coating Co. v. United States, No. 14-625,
2018 WL 2769098, at *4 (Fed. Cir. June 11, 2018) (citing Ellamae Phillips Co. v. United
States, 564 F.3d at 1373).

       According to the United States Court of Appeals for the Federal Circuit, “[i]t is
settled law that a Fifth Amendment taking occurs in Rails-to-Trails cases when
government action destroys state-defined property rights by converting a railway
easement to a recreational trail, if trail use is outside the scope of the original railway
easement.” Ladd v. United States, 630 F.3d 1015, 1019 (Fed. Cir. 2010), reh’g and reh’g
en banc denied, 646 F.3d 910 (Fed. Cir. 2011);9 see also Rogers v. United States, 814
9Despite the apparently clear language in Ladd, the Federal Circuit, in an unpublished
decision, raised questions about the viability of the Ladd decision going forward. In
Caquelin v. United States, 697 F. App’x 1016 (Fed. Cir. 2017), the Federal Circuit
observed:

      We think it clear that application of this court's decision in Ladd would lead
      to affirmance of the Court of Federal Claims' judgment in this case. We also
      think that this panel cannot declare Ladd no longer to be good law based
      on the Supreme Court's post-Ladd decision in Arkansas Game, on which
      the government heavily relies. Nevertheless, in requiring a multi-factor
      analysis of the repeated floodings at issue as “temporary physical invasion
      [s],” [Arkansas Game & Fish Commission v. United States,] 568 U.S. at 38,
      133 S. Ct. 511, Arkansas Game does raise questions about Ladd. Those
      questions supplement the questions raised (including by the author of Ladd)
      when Ladd was decided. See Ladd v. United States, 646 F.3d 910 (Fed.
      Cir. 2011) (Gajarsa, J., joined by Moore, J., dissenting from denial of
      rehearing en banc). En banc review may be warranted to address those
      questions, in light of the full range of Supreme Court decisions, and to
      decide whether Ladd should remain governing precedent.

Caquelin v. United States, 697 F. App’x at 1019. In Arkansas Game & Fish Commission
v. United States, 568 U.S. 23 (2012), the United States Supreme Court addressed a
temporary flooding case and observed that temporary physical takings involve “temporary
invasions of property, “‘subject to a more complex balancing process to determine
whether they are a taking.’” Arkansas Game & Fish Comm'n v. United States, 568 U.S.
at 36 (quoting Loretto v. Teleprompter Manhattan CATV Corp., 458 U.S. at 435 n.12).
The Supreme Court in Arkansas Game & Fish Commission concluded: “We rule today,
simply and only, that government-induced flooding temporary in duration gains no
automatic exemption from Takings Clause inspection. When regulation or temporary
physical invasion by government interferes with private property, our decisions recognize,
time is indeed a factor in determining the existence vel non of a compensable taking.” Id.
at 38. The Supreme Court indicated a multi-factor approach is required, and further noted

                                            27
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 28 of 45



F.3d at 1303; Ellamae Phillips Co. v. United States, 564 F.3d at 1373. “It is the law-created
right to own private property, recognized and enforced by the Constitution, legislation,
and common law, that gives the owner an historically rooted expectation of
compensation.” Preseault II, 100 F.3d at 1540. The United States Court of Appeals for
the Federal Circuit in Preseault II also indicated

       that power includes the power to preempt state-created property rights,
       including the rights to possession of property when railroad easements
       terminate. As Justice O’Connor succinctly pointed out in her concurring
       opinion in Preseault I, however, having and exercising the power of
       preemption is one thing; being free of the Constitutional obligation to pay
       just compensation for the state-created rights thus destroyed is another.

Id. at 1537 (citing Preseault I, 494 U.S. at 22).

       To determine the nature of the property interest at issue, the court looks to state
law. See Chi. Coating Co. v. United States, 2018 WL 2769098, at *4 (“[W]e must apply
the law of the state where the property interest arises.”); Rogers v. United States, 814
F.3d at 1305 (“We analyze the property rights of the parties in a rails-to-trails case under
the relevant state law.”). The United States Court of Appeals for the Federal Circuit,
interpreting a takings claim for a railroad right-of-way, stated that, “state law generally
creates the property interest in a railroad right-of-way.” Barclay v. United States, 443 F.3d
at 1374 (citing Preseault I, 494 U.S. at 8, 16). In a footnote on the same page, the United
States Court of Appeals for the Federal Circuit repeated, “[i]n Toews v. United States,
376 F.3d 1371 (Fed. Cir. 2004), we reiterated that state law controls the basic issue of
whether trail use is beyond the scope of the right-of-way.” Barclay v. United States, 443
F.3d at 1374 n.4. “The nature of the interest conveyed is determined according to the law
of the state where the conveyance occurred. ‘State law creates and defines the scope of
the reversionary or other real property interests affected by the ICC’s [Interstate
Commerce Commission] action pursuant to Section 208 of the National Trails System Act
Amendments of 1983, 16 U.S.C. § 1247(d).’” Chevy Chase Land Co. of Montgomery Cty.
v. United States, 37 Fed. Cl. 545, 565 (1997) (quoting Preseault I, 494 U.S. at 20
(O’Connor, J., concurring) (citing Ruckelshaus v. Monsanto Co., 467 U.S. at 1001)), aff’d,
230 F.3d 1375 (Fed. Cir. 1999), reh’g and reh’g en banc denied (Fed. Cir.), cert. denied,
531 U.S. 957 (2000); see also Whispell Foreign Cars, Inc. v. United States, 97 Fed. Cl.
324, 331 (“Whether an individual has a compensable private property interest is
determined by state law.”), amended after recons. in part, 100 Fed. Cl. 529 (2011).
Moreover, in Ruckelshaus v. Monsanto Co., 467 U.S. at 1001, the Supreme Court stated,
“we are mindful of the basic axiom that ‘“[p]roperty interests . . . are not created by the
Constitution. Rather, they are created and their dimensions are defined by existing rules
or understandings that stem from an independent source such as state law.”’” (quoting

that before the Federal Circuit, the government “challenged several of the trial court's
factfindings [sic], including those relating to causation, foreseeability, substantiality, and
the amount of damages. Because the Federal Circuit rested its decision entirely on the
temporary duration of the flooding, it did not address those challenges.” Id. at 40.


                                             28
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 29 of 45



Webb’s Fabulous Pharmacies, Inc. v. Beckwith, 449 U.S. 155, 161 (1980) (quoting Bd. of
Regents v. Roth, 408 U.S. 564, 577 (1972))) (omission in original). In Oregon ex rel. State
Land Board v. Corvallis Sand & Gravel Co., 429 U.S. 363 (1977), the United States
Supreme Court stated that, “[u]nder our federal system, property ownership is not
governed by a general federal law, but rather by the laws of the several States.” Id. at
378; see also Davies Warehouse Co. v. Bowles, 321 U.S. 144, 155 (1944) (“The great
body of law in this country which controls acquisition, transmission, and transfer of
property, and defines the rights of its owners in relation to the state or to private parties,
is found in the statutes and decisions of the state.”). The parties do not dispute that Florida
law applies to the above-captioned cases.

       The Government’s Cross-Motion for Partial Summary Judgment in Castillo
       as to the Portion of the Railroad Corridor the Florida East Coast Railway
       Obtained Through the Holman Deed in 1923.

        In Castillo, the government has cross-moved for partial summary judgment “as to
the railroad’s ownership of portions of the rail line” that the Florida East Coast Railway
“acquired by [the Holman] deed.” The government contends in its cross-motion that
“under applicable Florida law, the Holman deed conveyed fee simple title to the railroad”
and “[p]laintiffs, as the owners of land adjacent to the subject corridor, have no ownership
interest in the portion of the corridor conveyed to the railroad in fee by this deed.” The
Castillo plaintiffs whose takings claims are at issue in the government’s cross-motion are
the following nine plaintiffs: (1) Lourdez Rodriguez, (2) Alberto Perez, (3) Mayra Lopez,
(4) Niraldo Hernandez Padron and Mercedes Alina Falero, (5) Luisa Palencia and
Xiomara Rodriguez, (6) Reinaldo F. Castillo, (7) Hugo E. and Concepcion V. Diaz as Co-
Trustees of the Diaz Family Revocable Trust, (8) South American Tile, LLC, and (9)
Gladys Hernandez.

        These nine Castillo plaintiffs each own a parcel of land that is “[a]djacent” to the
railroad corridor, as stipulated to by the parties in their Joint Stipulations Regarding Title.
This particular portion of the railroad corridor, however, was not obtained by the Florida
East Coast Railway in one singular conveyance. The Florida East Coast Railway obtained
the western portion of the railroad corridor at issue through the 1923 written conveyance
in the Holman deed. The exact nature of the interest the Florida East Coast Railway
obtained in this portion of the railroad corridor through the Holman deed is “[d]isputed” by
the parties. According to the aerial map attached to the Castillo plaintiffs’ motion for partial
summary judgment, which defendant does not dispute, and which depicts the location of
the four rights-of-way obtained through condemnation and the land referenced in the
Holman deed, the land referenced in the Holman deed does not span the entire width of
the railroad corridor. In 1924, the Florida East Coast Railway obtained the Russo right-
of-way over the eastern and remaining portion of the railroad corridor through the
condemnation proceeding in the Dade County Circuit Court. Directly to the east of the
Russo right-of-way are the nine parcels of land belonging to the nine Castillo plaintiffs (1)
Lourdez Rodriguez, (2) Alberto Perez, (3) Mayra Lopez, (4) Niraldo Hernandez Padron
and Mercedes Alina Falero, (5) Luisa Palencia and Xiomara Rodriguez, (6) Reinaldo F.
Castillo, (7) Hugo E. and Concepcion V. Diaz as Co-Trustees of the Diaz Family


                                              29
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 30 of 45



Revocable Trust, (8) South American Tile, LLC, and (9) Gladys Hernandez, as depicted
by plaintiffs’ aerial map of the railroad corridor attached to their cross-motion for partial
summary judgment in Castillo. Further, the parties agree in their Joint Stipulations
Regarding Title that the Holman conveyance and the Russo right-of-way are the two
“[a]pplicable” conveyances to these nine Castillo plaintiffs.

        These nine Castillo plaintiffs responded to the government’s cross-motion for
partial summary judgment as to the Holman conveyance that none of the Castillo plaintiffs
are “seeking summary judgment [in their cross-motion for partial summary judgment] for
any land described in the 1923 Holman Deed.” The nine Castillo plaintiffs also responded
that:

       The government’s cross-motion for summary judgement fails because,
       even if one accepts the government’s argument that the landowners’ motion
       for summary judgement should not be granted, the government fails to
       present uncontroverted evidence supporting its supposition that, as a
       matter of undisputed fact and law, some other party owned the land under
       the abandoned railroad right-of-way.[10]
10 The Castillo plaintiffs appear to mischaracterize defendant’s position. As an initial
matter, defendant’s cross-motion for partial summary judgment in Castillo pertains only
to “the portion of the subject railroad corridor that the railroad acquired in fee by deed”
from the Holmans in 1923. Further, in its cross-motion for partial summary judgment in
Castillo, defendant never alleges, as asserted by plaintiff, that “some other party” owned
the land following the Holman conveyance. Instead, defendant identifies the party it
believes owned the land following the Holman conveyance. Defendant states in its cross-
motion for partial summary judgment in Castillo that the “Florida East Coast Railway”
acquired the land as a result of the Holman conveyance, stating that “by a deed, and
under applicable Florida law, that [the Holman] deed conveyed fee simple title to the
railroad.”

        Further, defendant, in its cross-motion for partial summary in Castillo, responds to
and opposes the Castillo plaintiffs’ cross-motion for partial summary judgment as to those
portions of the railroad corridor obtained through the four condemnation proceedings
brought by the Florida East Coast Railway in the Dade County Circuit Court in 1924.
Nowhere in its response and opposition to plaintiffs’ cross-motion for partial summary
judgment does defendant allege that “some other party owned the land under the
abandoned railroad right-of-way.” Instead, defendant responds that none of the Castillo
plaintiffs have

       fully met their burden to establish the extent of their ownership interest, if
       any, in the railroad corridor adjacent to their property, which is a necessary
       prerequisite to determining whether there has been a taking of that alleged
       interest. Plaintiffs’ failure to submit supporting evidence establishing, as a
       matter of Florida law, that they are the fee owners of some or all of the
       easement segments of the corridor requires the denial of their cross-motion
       for partial summary judgment.

                                             30
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 31 of 45




         Although none of the Castillo plaintiffs are currently seeking partial summary
judgment as to the portion of the railroad corridor obtained through the Holman deed, the
nine Castillo plaintiffs have alleged in past filings that they own the portion of the railroad
corridor obtained through the Holman deed. In particular, these nine plaintiffs each allege,
in the second amended and most recent complaint filed in Castillo on September 29,
2017, that they each own a parcel of land that not only “abuts” but also “underlies the
former Railroad right-of-way.” Because the alleged “Railroad right-of-way” that is adjacent
to the parcels allegedly belonging to these nine Castillo plaintiffs, is comprised of both the
Russo right-of-way and the result of the Holman conveyance, whether these nine Castillo
plaintiffs own the land underlying what was included in the Holman conveyance is at
issue. Moreover, the parties in Castillo stipulated in their Joint Stipulations Regarding Title
that the Holman conveyance and Russo right-of-way are the two railroad conveyances
that are “[a]pplicable” to these nine Castillo plaintiffs’ takings claims. Furthermore, the
nine Castillo plaintiffs and defendant also indicated in the Joint Stipulations Regarding
Title filed in Castillo that the nine Castillo plaintiffs and defendant “[d]isputed” the nature
of the railroad’s interest obtained in the railroad corridor through the Holman deed.

        Under Florida law, “[t]he language of the deed determines the nature of the estate
conveyed.” Rogers v. United States, 184 So. 3d 1087, 1097 (Fla. 2015) (finding that the
deeds were clear in their language and conveyed fee simple title). When the language of
the deed is clear, “then the intention of the grantor must be ascertained from that
language.” Mason v. Roser, 588 So. 2d 622, 624 (Fla. Dist. Ct. App. 1991); see also
Cohen v. Pan Am. Aluminum Corp., 363 So. 2d 59, 60 (Fla. Dist. Ct. App. 1978); Saltzman
v. Ahern, 306 So. 2d 537, 539 (Fla. Dist. Ct. App. 1975) (“When the language of a deed
is clear   . . . there is no room for judicial construction of the language nor interpretation
of the words used.”). When the language of the deed is not clear, a court should “consider
the language of the entire instrument in order to discover the intent of the grantor, both
as to the character of estate and the property attempted to be conveyed, and to so
construe the instrument as, if possible, to effectuate such intent.” Reid v. Barry, 112 So.
846, 863 (Fla. 1927).

        A deed which contains restrictions on land use or reversionary clauses “suggests
an intent to create an easement or convey something less than a fee estate.” Rogers v.
United States, 107 Fed. Cl. 387, 396 (2012) (interpreting Florida law), aff’d, 814 F.3d 1299
(Fed. Cir. 2015); see also Irv Enters., Inc. v. Atl. Island Civic Ass’n, 90 So. 2d 607, 609
(Fla. 1956) (finding that the deed at issue, which contained restrictions on use and a
reversion provision, as granting an easement). Conversely, an instrument that lacks any


As previously noted, the Castillo plaintiffs, as the parties asserting takings claims and
moving for summary judgment, have the burden on summary judgment to prove that they
have cognizable interests in the land underlying the railroad corridor in order to establish
takings claims before this court. See Am. Pelagic Fishing Co. v. United States, 379 F.3d
at 1372 (citing Maritrans Inc. v. United States, 342 F.3d 1344, 1352 (Fed. Cir. 2003)
(citation omitted)).


                                              31
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 32 of 45



restrictive or reversionary clauses, but instead has expansive granting clauses, granting
all right, interest and title suggests that the grantor intended to grant title to the grantee.
See Rogers v. United States, 107 Fed. Cl. at 395-96 (Under Florida law, it “could not be
clearer” that the deeds at issue conveyed title when they stated that “the parties . . .
hereby grant, bargain, sell and convey unto the party of the second part, all their right,
title and interest, of any nature whatsoever, in and to the following property . . .” and when
they did not contain “any language that limits or restricts the interests conveyed.”);
Whispell Foreign Cars, Inc. v. United States, 97 Fed. Cl. at 335 (Under Florida law, a
deed purporting to “[g]rant, bargain, sell and convey” to the railroad a piece of land, and
which also “did not contain any language—express or limited—limiting the use or purpose
to which the land is to be put,” conveyed interest in fee simple, rather than easement.).

        The government attached to its cross-motion for summary judgment the 1923
warranty deed between G.F. and Mary J. Holman and the Florida East Coast Railway, in
which the Holmans conveyed a strip of land to the Florida East Coast Railway. Plaintiffs
do not take issue with the language of the 1923 warranty deed attached by defendant to
its cross-motion for partial summary judgment in Castillo. As previously noted, plaintiffs’
aerial map attached to their cross-motion for partial summary judgment in Castillo
displays the railroad corridor, the location of the portion of the railroad the corridor the
Florida East Coast Railway obtained through the Holman deed in 1923, the location of
the four rights-of-way the Florida East Coast Railway obtained through condemnation in
1924, and the location of all of the Castillo plaintiffs’ parcels. According to the Castillo
plaintiffs’ aerial map, the strip of land which resulted from the Holman conveyance runs
north to south and is located on the western side of the railroad corridor. The strip of land
resulting from the Holman conveyance is separated from the properties belonging to the
following nine Castillo plaintiffs by the strip of land underlying the Russo right-of-way: (1)
Lourdez Rodriguez, (2) Alberto Perez, (3) Mayra Lopez, (4) Niraldo Hernandez Padron
and Mercedes Alina Falero, (5) Luisa Palencia and Xiomara Rodriguez, (6) Reinaldo F.
Castillo, (7) Hugo E. and Concepcion V. Diaz as Co-Trustees of the Diaz Family
Revocable Trust, (8) South American Tile, LLC, and (9) Gladys Hernandez. Thus, the
strip of land underlying the Russo right-of-way, as depicted on plaintiffs’ aerial map, is
wedged in between the land resulting from the Holman conveyance and the parcels of
land for these nine Castillo plaintiffs.

      As discussed below, based on the plain language of the Holman deed, the
Holmans granted fee simple title to the Florida East Coast Railway in the strip of land
underlying the railroad corridor. The Holman deed states that on July 20, 1923,

       GF Holman and Mary J Holman, his wife . . . parties of the first part, and
       FLORIDA EAST COAST RAILWAY COMPANY, . . . party of the second
       part, WITNESSETH, that the said parties of the first part, for and in
       consideration of the sum of ($3,000.00) *******THREE THOUSAND*********
       Dollars, . . . . granted, bargained, and sold to the said party of the second
       part, its successors and assigns forever, the following described land, to wit:
       A piece or parcel of land situated in the South-west Quarter (SW ¼) of the
       South-east Quarter (SE ¼) of Section Two (2) of Township Fifty-four (54)


                                              32
        Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 33 of 45



       South, in Range Forty (40) East, in Dade County, Florida, bounded and
       described as follows:
                                         ...

               1320 feet more or less, to lands now or formerly of W. W. Goucher,
               thence Westerly along Goucher’s lands 76 feet, thence South 1320
               feet more or less to the South line of said Section Two (2) at a point
               100 feet West of the point of beginning, thence Easterly 100 feet to
               the point or place of beginning. Containing 2.72 acres more or less.

(capitalization in original).

         The Holman deed includes an expansive granting clause, stating that the Holmans
“granted, bargained, and sold to” the Florida East Coast Railway and “its successors and
assigns forever,” the strip of land that comprised the Holman conveyance, which indicates
that the Holmans intended to grant the Florida East Coast Railway fee simple title. The
Holman deed also does not place any use restrictions on the Florida East Coast Railway’s
use of the land so as to suggest that the Holmans intended to grant a lesser interest than
fee simple title to the Florida East Coast Railway. For example, the Holman deed does
not state that the land conveyed was to be specifically used as a railroad “right of way,”
as did the four final judgments entered in favor of the Florida East Coast Railway in 1924
by the Dade County Circuit Court and which the plaintiffs and defendant agree conveyed
only an easement to the Florida East Coast Railway in their Joint Stipulations Regarding
Title filed in the above-captioned cases. Moreover, although the nine Castillo plaintiffs
initially “[d]isputed” the interest obtained by the Florida East Coast Railway through the
Holman deed in the parties’ Joint Stipulations Regarding Title, the nine Castillo plaintiffs
do not address in their cross-motion for partial summary judgment what the Holman deed
conveyed to the Florida East Coast Railway in 1923, nor have the nine Castillo plaintiffs
presented any evidence contrary to a fee simple conclusion. This court, therefore, finds
that in 1923, G.F. and Mary J. Holman conveyed fee simple title to the Florida East Coast
Railway, and the nine Castillo plaintiffs, (1) Lourdez Rodriguez, (2) Alberto Perez, (3)
Mayra Lopez, (4) Niraldo Hernandez Padron and Mercedes Alina Falero, (5) Luisa
Palencia and Xiomara Rodriguez, (6) Reinaldo F. Castillo, (7) Hugo E. and Concepcion
V. Diaz as Co-Trustees of the Diaz Family Revocable Trust, (8) South American Tile,
LLC, and (9) Gladys Hernandez, have no cognizable property interest in the strip of land
conveyed in the Holman deed. As the adjoining nine Castillo plaintiffs never possessed a
property interest in the subject corridor conveyed in the Holman deed, no taking has
occurred as to that portion of the railroad corridor. See Am. Pelagic Fishing Co. v. United
States, 379 F.3d at 1372 (“If the claimant fails to demonstrate the existence of a legally
cognizable property interest, the courts [sic] task is at an end.” (citing Maritrans Inc. v.
United States, 342 F.3d at 1352)). Because the Florida East Coast Railway acquired fee
simple title in the strip land conveyed to it in the 1923 Holman deed, the court grants the
government’s cross-motion for partial summary judgment in Castillo as to the following
nine Castillo plaintiffs’ takings claims relating to the Holman deed: (1) Lourdez Rodriguez,
(2) Alberto Perez, (3) Mayra Lopez, (4) Niraldo Hernandez Padron and Mercedes Alina
Falero, (5) Luisa Palencia and Xiomara Rodriguez, (6) Reinaldo F. Castillo, (7) Hugo E.


                                             33
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 34 of 45



and Concepcion V. Diaz as Co-Trustees of the Diaz Family Revocable Trust, (8) South
American Tile, LLC, and (9) Gladys Hernandez. Based on the record before the court,
defendant has provided evidence that the Florida East Coast Railway, and not the nine
Castillo plaintiffs, own the land underlying the Holman conveyance.

       The Parties’ Cross-Motions for Partial Summary Judgment in Castillo and
       Menendez as to the Russo, Stanley, J. Pyles and J. Owens, and Johnson
       Rights-of-Way that the Florida East Coast Railway Obtained in the Four
       Condemnation Proceedings in 1924.

        The Castillo and Menendez plaintiffs have moved for partial summary judgment as
to the issue of takings liability for the Russo, Stanley, J. Pyles and J. Owens, and Johnson
rights-of-way, the portions of the railroad corridor the Florida East Coast Railway obtained
through condemnation, so that, if liability is found, the matter can proceed to the valuation
stage to determine the just compensation due to each plaintiff. As indicated above, both
of these sets of Castillo and Menendez plaintiffs are not moving for summary judgment
as to the portion of the railroad line the Florida East Coast Railway obtained through the
Holman deed. The Castillo and Menendez plaintiffs make identical arguments regarding
the sections of the railroad corridor obtained by condemnation in their cross-motions for
partial summary judgment.

        The Castillo and Menendez plaintiffs argue in their cross-motions for partial
summary judgment that the STB’s “invocation of section 8(d) [of the National Trails
Systems Act, codified at 16 U.S.C. § 1241, et seq.] took these Florida owners’ property
for which the Just Compensation Clause requires the government to justly compensate
these owners.” The Castillo and Menendez plaintiffs then argue in their cross-motions for
partial summary judgment that the “railroad only had an easement to use these owners’
[plaintiffs’] land for operation of a railway,” and that the “scope of the easement granted
the railroad was limited to use the [plaintiffs’] property for operation of a railway and, when
the strip of land was no longer used for operation of a railway, these owners [plaintiffs]
enjoyed unencumbered title and exclusive possession of the land.” The Castillo and
Menendez plaintiffs also assert in their cross-motions for partial summary judgment that
they “own the fee estate underlying” the railroad corridor, but do not attach any supporting
evidence to their cross-motions indicating that they own the land underlying the railroad
corridor.

        The Castillo and Menendez plaintiffs in their respective replies in support of their
cross-motions for partial summary judgment argue, for the first time, that there is a
“Center-line Presumption” that as landowners “whose property borders the abandoned
right-of-way,” plaintiffs own “up to the center line of the right-of-way.” In particular, both
sets of plaintiffs state in their replies in support of their cross-motions:

       The issue really is really quite simple. All plaintiffs listed on Table A [which
       the Castillo and Menendez plaintiffs attached to their motions for partial
       summary judgment] own parcels of land adjacent to the abandoned railroad
       easement originally acquired by condemnation. All agree the extent of the


                                              34
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 35 of 45



       railroad’s interest was a right-of-way easement for the operation of a railway
       line. In other words, no on [sic] claims the railroad owned the fee estate in
       the strip of land across which the railroad operated its railway line.

       Each landowner whose property borders the abandoned right-of-way is
       presumed by Florida law to own the land underlying the right-of-way, up to
       the center line of the right-of-way.

         The government responds in its cross-motion for partial summary judgment in
Castillo that the plaintiffs “have failed to prove that they are the fee owners of some or all
of the portions of the railroad corridor acquired by condemnation.” The government also
argues in Castillo that the plaintiffs’ “attempt to rely on the so-called centerline
presumption to support their claim,” is rebutted by evidence before the court. The
government argues that the “legal descriptions for the subdivision plats exclude the
railroad right-of-way as part of the land owned by the subdivision developers.” According
to the government, “if the subdivision developer as the predecessor-in-interest to Plaintiffs
did not own any portion of the railroad corridor as presented by their plats, then Plaintiffs
cannot be the current owner of this land” underlying the railroad corridor. The government
then argues that because “Plaintiffs have no evidence of their ownership of the underlying
railroad corridor,” the Castillo plaintiffs’ cross-motion for partial summary “should fail.”
Additionally, the government argues that the Castillo plaintiffs’ interests to the railroad
corridor, if any, should be limited to the actual width of the applicable right-of-way that
runs adjacent to plaintiffs’ parcels. As previously noted, the Stanley right-of-way is
separate from plaintiffs’ parcels. In particular, wedged in between the Stanley right-of-way
and the parcels belonging to six Castillo plaintiffs and one Menendez plaintiff is the
Johnson right-of-way. The six Castillo plaintiffs are (1) Luis Crespo, (2) Jose Luis and
Grace Barsello Napole, (3) Bernardo D. and Norma A. Manduley, (4) Danilo A. and Dora
Rodriguez, (5) Avimael and Odalys Arevalo, and (6) Dalia Espinosa, Daniel Espinosa,
and Sofira Gonzalez. The Menendez plaintiff is Luis Schmidt. Also as previously noted,
wedged in between the northern portion of the Stanley right-of-way and the parcels of
land belonging to the two Castillo plaintiffs (1) Jose F. and Dora A. Dumenigo and (2)
Humberto J. and Josefa Marcia Diaz and two Menendez plaintiffs (1) Jose Martin
Martinez and Norma del Socorro Gomez and (2) Nelson Menendez and Osvaldo Borras,
Jr. is the southern portion of the J. Pyles and J. Owens right-of-way. Thus, the government
argues that the Castillo plaintiffs cannot possibly own to the center of railroad corridor
because none of the rights-of-way which are adjacent to the plaintiffs’ parcels uniformly
span 50 feet, which is half of the railroad corridor.

       Similarly, in Menendez, the government argues in its cross-motion for partial
summary judgment that the “plaintiffs cannot prove that they are the owners of portions
of the railroad corridor acquired by condemnation” and, in fact, that the plat language of
the Princess Park Manor plat “establishes that the predecessors in interest to Plaintiffs
did not own the corridor land, so Plaintiffs do not own that land” underlying the railroad
corridor. Thus, defendant argues in Menendez that the court should “grant the United
States’ cross-motion for summary judgment on Plaintiffs’ claims.” The only remaining
issue, therefore, before for the court is whether there are any genuine issues of material


                                             35
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 36 of 45



fact in dispute as to whether the Castillo and Menendez plaintiffs are owners of the land
underlying the Russo, Stanley, J. Pyles and J. Owens, and Johnson rights-of-way, which
the Florida East Coast Railway obtained through the four separate condemnation
proceedings in the Dade County Circuit Court in 1924. As previously noted, the court
found that the Florida East Coast Railway held fee simple title in the land underlying the
Holman conveyance, which the Florida East Coast Railway obtained through a warranty
deed in 1923. Moreover, because the Florida East Coast Railway holds fee simple title in
the land underlying the Holman conveyance, none of the plaintiffs in the above-captioned
cases are entitled to a presumption of ownership that they own to the center line of the
railroad corridor for land obtained through the Holman conveyance. See Rogers v. United
States, 184 So. 3d at 1098.

        Under Florida law, any presumption of ownership to the center line of a right-of-
way can be rebutted by evidence that the party asserting the presumption does not own
any of the land at issue. See id. Both the Castillo and Menendez plaintiffs in their reply
briefs in support of their cross-motions for partial summary judgment, cite to Smith v.
Horn, 70 So. 435 (Fla. 1915) for the proposition that Florida courts should apply the
“Center-line Presumption” in these cases. In Smith v. Horn, the Supreme Court of Florida
presumed that an owner of a parcel of land that was adjacent to a street within a
subdivision owned to the center of a street because there was no “contrary showing” that
the original subdivision owner or his grantees clearly reserved title to the street. See id.
at 436. The Supreme Court of Florida explained that:

       Where the owner of land has it surveyed, mapped, and platted, showing
       subdivisions thereof, with spaces for intervening streets or other highways
       between the subdivisions clearly indicated upon the map or plat, and
       conveyances in fee of the subdivisions are made with reference to such
       map or plat, the owner thereby evinces an intention to dedicate an
       easement in the streets or other highways to the public use as such, the title
       to the land under the street remaining in the owner or his grantees; and,
       where such conveyances are made with reference to the map or plat, the
       dedication of the easement for street purposes cannot be subsequently
       revoked as against the grantees, and the title of the grantees of subdivisions
       abutting on such streets, in the absence of a contrary showing, extends to
       the center of such highway, subject to the public easement. And, where the
       highway is lawfully surrendered, the then holder of the title to abutting
       property and to the center of the street has the property relieved of the public
       easement.

Id.

        “[T]he rule applied in [Smith v.]Horn . . . is a rule of construction that is employed
to aid in determining the grantor’s intent” as to whether the grantor intended to retain title
to the land underlying the easement or pass title to his grantees. Rogers v. United States,
184 So. 3d at 1098; see also Servando Building Co. v. Zimmerman, 91 So. 2d 289 (Fla.
1956); Peninsular Point, Inc. v. South Georgia Dairy Co-op, 251 So. 2d 690 (Fla. Dist. Ct.


                                             36
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 37 of 45



App. 1971). The rule “seems to be based on the supposed intention of the parties, and
the improbability of the grantor desiring or intending to reserve his interest in the street
when he had parted with his title to the adjoining land.” Florida Southern Ry. v. Brown, 1
So. 512, 513-514 (1887). This presumption is a “rule . . . for construing conveyances, and
must be applied to carry out, and not to frustrate the intention of the parties.” Smith v.
Horn, 70 So. at 436. The center line presumption, as articulated in Smith v. Horn,
however, can be rebutted in certain circumstances. The Castillo and Menendez plaintiffs
assert in their replies in support of their cross-motions for partial summary that the center
line presumption is only rebutted when the government has provided “explicit evidence in
the form of a recorded deed by which the predecessor-in-title to these landowners
explicitly retained title to the land under the railroad right-of-way.” (citing to Rogers v.
United States, 184 So. 3d at 1098).

        In Rogers v. United States, the Supreme Court of Florida analyzed a question of
Florida law certified to the Supreme Court of Florida by the United States Court of Appeals
for the Federal Circuit. See Rogers v. United States, 184 So. 3d at 1089. The certified
question posed by the United States Court of Appeals for the Federal Circuit arose from
a rails-to-trails case before the United States Court of Federal Claims involving “the claims
of a group of owners of land abutting the railroad corridor who claim that conveyances to
the railroad by their predecessors in title granted only easements for a railroad right-of-
way and did not convey fee simple title . . . .” Id. at 1091. The United States Court of
Appeals for the Federal Circuit stated the question that was certified as follows:

       Assuming that a deed, on its face, conveys a strip of land in fee simple from
       a private party to a railroad corporation in exchange for stated
       consideration, does Fla. Stat. § 2241 (1892) (recodified at Fla. Stat. § 4354
       (1920); Fla. Stat. § 6316 (1927); Fla. Stat. § 360.01 (1941)), state policy, or
       factual considerations—such as whether the railroad surveys property, or
       lays track and begins to operate trains prior to the conveyance of a deed—
       limit the railroad's interest in the property, regardless of the language of the
       deed? .

Id. at 1090 (alterations in original; footnote omitted). In a footnote, the Federal Circuit
indicated that “[w]hile the Appellants dispute whether the deeds appear on their face to
transfer a fee simple interest in the properties at issue, like the Court of Federal Claims
before us, we conclude that they do.” Id. at 1090 n.1. The Supreme Court of Florida
responded:

       Considering the alternatives included in the Court of Appeals’ certified
       question, we see that there are actually three questions: (1) Does section
       2241, Revised Statutes of Florida (1892), limit the railroad's interest in the
       property, regardless of the language of the deeds? (2) Does state policy
       limit the railroad’s interest in the property, regardless of the language of the
       deeds? (3) Do factual considerations, such as whether the railroad surveys
       land or lays track and begins running trains before the conveyance of a
       deed, limit the railroad’s interest in the property, regardless of the language


                                             37
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 38 of 45



       of the deeds? Under the circumstances found to exist by the Court of
       Federal Claims, we answer all three questions in the negative.

Id. at 1090.

       In analyzing the deeds at issue in the certified question in Rogers v. United States,
the Supreme Court of Florida concluded that “the deeds were clear in their language and
conveyed fee simple title.” Id. at 1097. When determining whether Florida State policy
limited a railroad’s interest in the property acquired by deed, regardless of the language
of the deeds, the Supreme Court of Florida stated:

       Appellants also cite certain decisions of this Court in support of their “strips
       and gores”[11] argument. In Seaboard Air Line Ry. v. Southern Investment
       Co., 53 Fla. 832, 44 So. 351 (1907), and Florida Southern Ry. v. Brown, 23
       Fla. 104, 1 So. 512 (1887), this Court recognized that when a street or
       highway is the boundary of a lot or piece of land, the owner of the lot owns
       to the center of the street or highway, subject to the right of the public to use
       the public street or highway. “The rule seems to be based on the supposed
       intention of the parties, and the improbability of the grantor desiring or
       intending to reserve his interest in the street when he had parted with his
       title to the adjoining land.” Id. at 513-14. In Smith v. Horn, 70 Fla. 484, 70
       So. 435 (1915), a subdivision plat was mapped out showing blocks and lots
       with spaces for streets running in between them. The plat showed the
       owner’s intent to create public easements for the streets. The purchasers
       of the lots were presumed to have received title to the land extending to the
       center of the street abutting their lots. Upon the subsequent abandonment
       or surrender of a street easement, the abutting owners owned the property
       to the center of the street free of the easement. Id. at 436–37. This outcome
       was based on the presumed intent of the grantor in the absence of a
       contrary showing. Servando Bldg. Co. v. Zimmerman, 91 So.2d 289
       (Fla.1956), recognized that the rule applied in Horn, Southern Investment,
       and Brown is a rule of construction that is employed to aid in determining
       the grantor’s intent. Under this body of caselaw, a conveyance of a lot
       bordered by a street is presumed to carry title to the center of the street.
       This rule of construction does not apply if a contrary intention is made clear
       by the language of the deed. To the same effect is the decision in United
       States v. 16.33 Acres of Land, 342 So.2d 476 (Fla.1977). The presumption
       is also inapplicable if the strip of land being claimed is titled in someone
       else. See Paine, 71 F. at 629.
11  The Supreme Court of Florida stated that the “strips and gores” doctrine, cited by
appellants in Rogers v. United States, “has been explained as follows: ‘The presumption
is that a deed to a railroad or other right of way company (pipeline company, telephone
company, etc.) conveys a right of way, that is, an easement, terminable when the
acquirer's use terminates, rather than a fee simple.’” Rogers v. United States, 184 So. 3d
at 1097-98 (quoting Penn Central Corp. v. U.S. R.R. Vest Corp., 955 F.2d 1158, 1160
(7th Cir. 1992)).

                                              38
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 39 of 45




Rogers v. United States, 184 So. 3d at 1098. The Supreme Court of Florida indicated that
“[t]hese cases on subdivision plat maps are distinguishable” because the deeds at issue
in Rogers v. United States “were clear as to the title conveyed,” which was fee simple,
and “the presumption that an owner of a lot abutting a street owns to the center of the
street will not prevail over clear language in a deed showing contrary intent.” Id. at 1099.
In a footnote, the Supreme Court of Florida stated “[w]e need not discuss whether or to
what extent this ‘center line presumption’ rule still applies to property adjacent to streets
and highways in Florida today. We hold that it has no application in this case.” Id. at 1099
n.7. After the Supreme Court of Florida answered the certified question, the United States
Court of Appeals issued an opinion stating that the “presumption that owners of parcels
of land that are bounded by adjacent public roadways or railways own all the land to the
center of the strip, rather than to just the edge of the strip” did not apply because there
was a contrary intent in the language of the deeds at issue in Rogers. See Rogers v.
United States, 814 F.3d at 1309 (quoting appellant’s brief in Rogers).

        Although the Supreme Court of Florida in Rogers recognized that “the language of
a deed” indicating that the grantor intended to reserve title to the land underlying the
easement at issue could rebut a presumption of ownership, the Supreme Court of Florida
did not hold, as asserted by plaintiffs, that a deed in which the grantor reserved title to
land underlying the easement was the only form of evidence which could rebut a
presumption of ownership. See Rogers v. United States, 184 So. 3d at 1098. The
Supreme Court of Florida in Rogers more broadly stated that an alleged presumption of
ownership asserted by a landowner of a parcel of land adjacent to the easement at issue
is “inapplicable if the strip of land being claimed is titled in someone else.” Id. Further, as
the Supreme Court of Florida announced over one hundred years ago, “a description
bounding land by a highway conveys [title] to the center of the highway, but it is asserted,
on the principle of non dat qui non habet,[12] and very properly, that it does so only where
the grantor himself has the title.” Jacksonville, T. & K.W. Ry. Co. v. Lockwood, 15 So.
327, 328–29 (Fla. 1894) (internal citations omitted). The Supreme Court of Florida in
Smith v. Horn similarly indicated that a presumption of ownership applies if the grantor
had title to the land underlying the easement to begin with by stating that, “unless the
deed manifests an intention on the part of the grantor to limit the boundary line, the line,
when the land is bounded by a nonnavigable stream or highway, extends to the center of
such stream or highway, if the grantor is the owner of the fee.” Smith v. Horn, 70 So. at
436 (internal citation omitted). In Smith v. Horn, the Supreme Court of Florida also stated
that if the grantor did not clearly reserve title to the land underlying the street at issue,
then, title to the center of the street passed to the adjoining landowner. See id. at 437. It
was understood, however, by the parties in Smith v. Horn, that the grantor at issue
actually owned the disputed piece of land underlying the street easement. In particular,
the parties stipulated that the original subdivision owner, who platted the street at issue,

12“Non dat qui non habet” is a legal phrase for “[y]ou can’t give what haven’t got.” J.
Stanley Mcguade, Ancient Legal Maxims and Modern Human Rights, 18 CAMPBELL L.
REV. 75, 120 (1996).


                                              39
        Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 40 of 45



had title to the land underlying the street. See id. at 435. What the parties disputed in
Smith v. Horn was whether the grantor intended to pass title to the land underlying the
street to the adjacent landowner or reserve title to himself. See id. at 436-37. Thus, under
Florida law, the center line presumption can be rebutted, for example, by evidence that
the grantor did not own the land underlying the easement at issue, or, if there was
ownership of such land, evidence that the grantor clearly reserved title to the land, such
that the adjoining landowner would have no interest in the easement.

       Zena Gardens Subdivision Plat

        Based on the record before the court, the following nine Castillo plaintiffs own
discrete parcels of land in the Zena Gardens subdivision: (1) Lourdez Rodriguez, (2)
Alberto Perez, (3) Mayra Lopez, (4) Niraldo Hernandez Padron and Mercedes Alina
Falero, (5) Luisa Palencia and Xiomara Rodriguez, (6) Reinaldo F. Castillo, (7) Hugo E.
and Concepcion V. Diaz as Co-Trustees of the Diaz Family Revocable Trust, (8) South
American Tile, LLC, and (9) Gladys Hernandez. Further, each of these nine Castillo
plaintiffs took title to their discrete parcel of land with reference to the Zena Gardens
subdivision plat. Under Florida law, when a party takes title by reference to a “recorded
plat,” “all restrictions, easements, and reserved rights that appear on the plat are
incorporated in the instruments of conveyance as if though the same had been recited in
the instruments.” Peninsular Point, Inc. v. South Georgia Dairy Co-op, 251 So. 2d at 693;
see also McCorquodale v. Keyton, 63 So. 2d 906, 910 (Fla. 1953); Miami-Dade County
v. Torbert, 69 So. 3d 970, 973 (Fla. Dist. App. Ct. 2011) (“If a landowner plats or
subdivides his land into lots or blocks, lays off streets and other public ways, designates
portions of the land [as] parks, playgrounds, and similar facilities and then conveys lots
with reference to the plat, he is bound by the plat and representations he has made.”).
Thus, the representations made in the Zena Gardens plat are applied to the Castillo
plaintiffs as if incorporated in plaintiffs’ respective deeds.

        The nine Castillo plaintiffs assume throughout their reply in support of their cross-
motion for partial summary judgment that the original Zena Gardens subdivision owners
owned the land underlying the railroad corridor, which borders the western side of the
Zena Gardens subdivision, and did not intend to reserve title to the land underlying the
railroad corridor. Plaintiffs state that “[t]he grantor who subdivided the larger tract of land
and recorded the . . . Zena Gardens plat[] [Louis and Rebecca Merwitzer] which designate
the individual lots adjoining the railroad right-of [sic] way did not intent [sic] to reserve title
to the land under the railroad right-of-way.”

      Pursuant to Florida law, a plat “shall show a description of the lands subdivided,
and the description shall be the same in the title certification. The description must be so
complete that from it, without reference to the plat, the starting point and boundary can
be determined.” FLA. STAT. § 177.091 (2017). Further, under Florida law, when construing
a subdivision plat:

       The plat must be construed as a whole and every part of the instrument be
       given effect. Too, the plat should be construed fairly and reasonably with no


                                                40
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 41 of 45



       part rejected as superfluous. Finally, if the plat is ambiguous, the
       construction must be against the dedicator and in favor of the public.

N. Lauderdale Corp. v. Lyons, 156 So. 2d 690, 692 (Fla. Dist. Ct. App. 1963); see also
Volusia Cnty. v. Aberdeen at Ormond Beach, L.P., 760 So. 2d 126, 132 (Fla. 2000) (“It is
axiomatic that when construing a document, courts should give effect to the plain meaning
of its terms.”).

       The Zena Gardens plat states that Louis and Rebecca Merwitzer are

       owners of the S.E. ¼ of the S.E. ¼ of Section 2, Township 54 South, Range
       40 East, Miami Dade County, Florida, excepting therefrom a strip of land off
       the westerly side [of the Zena Gardens subdivision] which is the right of way
       of the Okeechobee-Miami Extension of the Florida East Coast Railway,
       have caused to be made the attached plat entitled future planting, trees and
       shrubbery there on are hereby dedicated to the perpetual use of the Public
       for proper purposes reserving to the said Louis Merwitzer and Rebecca
       Merwitzer, his wife, their heirs, successors or assigns, the reversion or
       reversions thereof whenever discontinued by law.

(emphasis added). The plat makes a specific point to “except[]” the railroad corridor from
the description of land platted in the Zena Gardens subdivision, which is the same platted
subdivision that includes the nine parcels which were each transferred to the nine Castillo
plaintiffs. Thus, based on the language of the plat, the railroad corridor is not included in
the Zena Gardens subdivision. Furthermore, as depicted on the Zena Gardens plat, none
of the parcels belonging to the nine Castillo plaintiffs extend onto the railroad corridor but,
instead, end at the edge of the railroad corridor. Additionally, there is another paragraph
in the plat in which the Merwitzers dedicate various areas of their subdivision to public
use. Notably, this paragraph does not reference the railroad corridor. According to Florida
law:

       Every plat of a subdivision filed for record must contain a dedication by the
       owner or owners of record. The dedication must be executed by all persons,
       corporations, or entities whose signature would be required to convey
       record fee simple title to the lands being dedicated in the same manner in
       which deeds are required to be executed. All mortgagees having a record
       interest in the lands subdivided shall execute, in the same manner in which
       deeds are required to be executed, either the dedication contained on the
       plat or a separate instrument joining in and ratifying the plat and all
       dedications and reservations thereon.

FLA. STAT. § 177.081 (2017).

       The Zena Gardens’ dedication states:

       The Streets, Avenues and Terrace as shown together with all existing and



                                              41
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 42 of 45



       future planting, trees and shrubbery there on are hereby dedicated to the
       perpetual use of the Public for proper purposes reserving to the said Louis
       Merwitzer and Rebecca Merwitzer, his wife, their heirs, successors or
       assigns, the reversion or reversions thereof whenever discontinued by law.

The Merwitzers explicitly dedicate various areas of their subdivision, which are generally
used for transportation, such as “Streets” and “Avenues,” for public use. The Merwitzers,
however, do not mention the railroad corridor, which based on the record before the court
was in use by the Florida East Coast Railway at the time the plat was created. Thus, the
absence of the railroad corridor in the plat’s dedication confirms that the railroad corridor
was not intended to be considered part of the subdivision properties which were
eventually transferred to the nine Castillo plaintiffs.

         Because the original Zena Gardens subdivision owners did not include the railroad
corridor as part of their platted subdivision, the Zena Gardens subdivision owners did not
intend to pass title to the railroad corridor to the grantees of the subdivision parcels
adjacent to the railroad corridor. Thus, any potential presumption that the following nine
Castillo plaintiffs, (1) Lourdez Rodriguez, (2) Alberto Perez, (3) Mayra Lopez, (4) Niraldo
Hernandez Padron and Mercedes Alina Falero, (5) Luisa Palencia and Xiomara
Rodriguez, (6) Reinaldo F. Castillo, (7) Hugo E. and Concepcion V. Diaz as Co-Trustees
of the Diaz Family Revocable Trust, (8) South American Tile, LLC, and (9) Gladys
Hernandez, who own discrete parcels in Zena Gardens, own to the center of the railroad
corridor is rebutted. Furthermore, because the Zena Gardens plat did not include the
railroad corridor, the nine Castillo plaintiffs’ parcels do not include any of the land
underlying the railroad corridor. Without a cognizable interest in the railroad corridor, the
nine Castillo plaintiffs’ takings claim as to the portion of the railroad corridor obtained
through the four condemnation proceedings in 1924 by the Florida East Coast Railway
fails. See Am. Pelagic Fishing Co. v. United States, 379 F.3d at 1372 (“If the claimant
fails to demonstrate the existence of a legally cognizable property interest, the courts [sic]
task is at an end.” (citing Maritrans Inc. v. United States, 342 F.3d at 1352)).

       Princess Park Manor Subdivision Plat

        The record before the court indicates that the other ten Castillo plaintiffs, not
included in the Zena Gardens plat, (1) Luis Crespo, (2) Jose Luis and Grace Barsello
Napole, (3) Bernardo D. and Norma A. Manduley, (4) Danilo A. and Dora Rodriguez, (5)
Avimael and Odalys Arevalo, (6) Dalia Espinosa, Daniel Espinosa, and Sofira Gonzalez,
(7) Humberto J. and Josefa Marcia Diaz, (8) Jose F. and Dora A. Dumenigo, (9) Shops
on Flagler Inc., and (10) Gonzalo Padron Marino, Julia Garcia and Mayda Rotella, and
the three Menendez plaintiffs, (1) Luis Schmidt, (2) Jose Martin Martinez and Norma del
Socorro Gomez, and (3) Nelson Menendez and Osvaldo Borras, Jr. each own a discrete
parcel of land in the Princess Park Manor subdivision and took title to their discrete parcel
of land in reference to the Princess Park Manor plat. Thus, any representations contained
within the Princess Park Manor plat are applied to the ten Castillo and three Menendez
plaintiffs as if they were contained in these plaintiffs’ respective deeds. See Peninsular
Point, Inc. v. South Georgia Dairy Co-op, 251 So. 2d at 693; see also McCorquodale v.


                                             42
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 43 of 45



Keyton, 63 So. 2d 906, 910 (Fla. 1953); Miami-Dade Cnty. v. Torbert, 69 So. 3d 970, 973
(Fla. Dist. App. Ct. 2011).

         The ten Castillo plaintiffs and three Menendez plaintiffs assume throughout their
replies in support of their cross-motions for partial summary judgment, without any
supporting evidence, that the original subdivision owners for the Princess Park Manor
subdivision owned the land underlying the railroad corridor and did not intend to reserve
title to the land underlying the railroad corridor, which borders the western side of the
Princess Park Manor subdivision. In particular, the ten Castillo plaintiffs state in their reply
in support of their cross-motion for partial summary judgment in that “[t]he grantor who
subdivided the larger tract of land and recorded the Princess Park . . . plat[] [Erving and
Harriet Moss] which designate the individual lots adjoining the railroad right-of [sic] way
did not intent [sic] to reserve title to the land under the railroad right-of-way.” The three
Menendez plaintiffs also similarly state in their reply in support of their cross-motion for
partial summary judgment that “[t]he grantor who subdivided the larger tract of land
[Erving and Harriett Moss] and recorded the Princess Park plat which designates the
individual lots adjoining the railroad right-of-way did not intend to reserve title to the land
under the railroad right-of-way.”

       As previously noted, a “plat must be construed as a whole and every part of the
instrument be given effect,” and “should be construed fairly and reasonably with no part
rejected as superfluous.” N. Lauderdale Corp. v. Lyons, 156 So. 2d at 692; see also
Volusia Cnty. v. Aberdeen at Ormond Beach, L.P., 760 So. 2d at 132. The Princess Park
Manor plat states that Erving and Harriett Moss are the

       owners of the South ½ of the N.E. 1/4s South of the Canal and East of the
       Florida East Coast Right-of-Way, located in Sec. 2 TWP.54 South, RGE. 40
       East, Dade County, Florida; being the land East of the Florida East coast
       Right-of-Way and between Flagler Street and the Tamiami Canal and
       extending East to Ludlum Road, ALSO The West ½ of the Northeast ¼ of
       the Southeast ¼ less the Florida East Coast Right-of-Way all in Sec. 2
       Township 54 South RGE.40 East, Dade County, Florida, said Florida East
       Coast Right-of-Way being the right-of-way of the Okeechobee Miami
       Extension of the Florida East Coast Railway, have caused to made the
       attached Plat entitled “PRINCESS PARK MANOR”

(all emphasis in original except emphasis on word “less” added). The plat makes a
specific point to exclude the railroad corridor, at three different times, from the description
of the land patted in the Princess Park Manor subdivision, which is the same platted
subdivision that includes the thirteen parcels which were each transferred to the ten
Castillo and three Menendez plaintiffs. First, the plat states that the Mosses are “owners
of the South ½ of the N.E. ¼ s South of the Canal and East of the Florida East Coast
Right-of-Way.” It then states that the land owned by the Mosses is “located in Sec.
2TWP.54 South, RGE.40 East, Dade County Florida; being the land East of the Florida
East Coast Right-of-Way.” It then states that the Mosses own:



                                              43
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 44 of 45



       The West ½ of the Northeast ¼ of the Southeast ¼ less the Florida East
       Coast Right-of-Way all in Sec. 2 Township 54 South RGE. 40 East, Dade
       County Florida, Said Florida East Coast Right-of-Way being the right-of-way
       of the Okeechobee Miami Extension of the Florida East Coast Railway.

(capitalization in original; emphasis added). Thus, based on the language of the plat, the
railroad corridor is not included in the platted subdivision. Furthermore, as depicted on
the Princess Park Manor plat, none of the parcels belonging to the ten Castillo and three
Menendez plaintiffs extend onto the railroad corridor but, instead, end at the edge of the
railroad corridor.

      Additionally, the section of the Princess Park Manor plat in which the Mosses
dedicate various platted streets and alleys to public use, does not mention the railroad
corridor. In particular, the Princess Park Manor plat states that:

     The Streets, Avenues, Roads, Terraces, Courts and Alleys as shown
     together with all existing and future planning, trees and shrubbery thereon
     are hereby dedicated to the perpetual use of the public for proper purposes,
     reserving to the said ERVING A.MOSS and HARRIETT E.MOSS, his wife,
     their heirs; successors or assigns, the reversion or reversions thereof
     whenever discontinued by law.

(capitalization in original). The Mosses explicitly dedicate various areas of its subdivision
which are generally used for transportation, such as “Streets,” “Avenues,” “Roads,” and
“Alleys,” for public use. The Mosses, however, do not mention the railroad corridor, which
based on the record before the court was in use by the Florida East Coast Railway at the
time the plat was created. Thus, the absence of the railroad corridor in the plat’s
dedication confirms that the railroad corridor was not intended to be considered part of
the subdivision properties which were eventually transferred to the ten Castillo and three
Menendez plaintiffs.

       Because the original Princess Park Manor subdivision owners did not include the
railroad corridor as part of their platted subdivision, the Princess Park manor subdivision
owners did not intend to pass title to the railroad corridor to the grantees of the subdivision
parcels adjacent to the railroad corridor. Thus, any potential presumption that the
following ten Castillo plaintiffs, (1) Luis Crespo, (2) Jose Luis and Grace Barsello Napole,
(3) Bernardo D. and Norma A. Manduley, (4) Danilo A. and Dora Rodriguez, (5) Avimael
and Odalys Arevalo, (6) Dalia Espinosa, Daniel Espinosa, and Sofira Gonzalez, (7)
Humberto J. and Josefa Marcia Diaz, (8) Jose F. and Dora A. Dumenigo, (9) Shops on
Flagler Inc., and (10) Gonzalo Padron Marino, Julia Garcia and Mayda Rotella, and three
Menendez plaintiffs, (1) Luis Schmidt, (2) Jose Martin Martinez, and (3) Nelson Menendez
and Osvaldo Borras, Jr., own to the center of the railroad corridor is rebutted.
Furthermore, because the Princess Park Manor plat did not include the railroad corridor,
the parcels belonging to these ten Castillo and three Menendez plaintiffs do not include
any of the land underlying the railroad corridor. Without a cognizable interest in the
railroad corridor, the ten Castillo and three Menendez plaintiffs’ takings claim as to the


                                              44
       Case 1:16-cv-01624-MBH Document 40 Filed 06/29/18 Page 45 of 45



portion of the railroad corridor obtained through the four condemnation proceedings in
1924 fails. See Am. Pelagic Fishing Co. v. United States, 379 F.3d at 1372; Maritrans Inc.
v. United States, 342 F.3d at 1352.

                                        CONCLUSION

       Because the plaintiffs in Castillo and Menendez do not appear to own the land
underlying the railroad corridor at issue, plaintiffs cannot prevail. The court GRANTS
defendant’s motion for summary judgment in Castillo, Case No. 16-1624, and Menendez,
Case No. 17-1931. Castillo plaintiffs’ cross-motion for partial summary is DENIED.
Menendez plaintiffs’ cross-motion for partial summary judgment is DENIED. The Clerk
shall enter JUDGMENT consistent with this opinion.

      IT IS SO ORDERED.

                                                      s/Marian Blank Horn
                                                      MARIAN BLANK HORN
                                                              Judge




                                           45
